      Case 1:23-mi-99999-UNA Document 2350 Filed 07/25/23 Page 1 of 81




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

PRASHANT KALAVAR and                          )
SHWETA KALAVAR,                               )
                                              )
      Plaintiff,                              )
                                              )    CIVIL ACTION FILE NO.
vs.                                           )    ______________________
                                              )
SAFECO INSURANCE COMPANY                      )
OF INDIANA                                    )
                                              )
      Defendant.                              )

      DEFENDANT SAFECO INSURANCE COMPANY OF INDIANA’S
                    NOTICE OF REMOVAL

      COMES NOW Safeco Insurance Company of Indiana (hereafter “Safeco”),

and files its Notice of Removal pursuant to Fed. R. Civ. P. 81(c) and 28 U.S.C. §§

1441 and 1446(a) and (b).

                                         1.

      The Plaintiffs have filed a civil action against Safeco in the State Court of

DeKalb County, Georgia, Civil Action File No. 23A02822, (the “underlying action”)

which is located within the Atlanta Division of the United States District Court for

the Northern District of Georgia. See 28 U.S.C. § 90(a)(2).




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                                           2.

      The Plaintiffs filed their Complaint in the underlying action on or about June

23, 2023. (Exhibit “A”, Complaint.) The Summons and Complaint was served on

Safeco on or about June 26, 2023. (Id.)

                                           3.

      In their Complaint, Plaintiffs allege that they “Georgia Residents”. (Ex. A,

Complaint, ¶ 1.) Plaintiffs further allege that their cause of action arises out of

damage to their “home located at 8030 Prestwick Circle, Duluth, Georgia 30097-

6673 (“Subject Property” or the “home”). (Id. at ¶ 5.) The Plaintiffs are citizens of

the State of Georgia.

                                           4.

      Safeco is an insurance company organized and existing under the laws of the

State of Indiana, with its principal place of business located at 175 Berkely Street,

Boston, Massachusetts. There is no evidence that either Plaintiff is a citizen of either

Indiana or Massachusetts.

                                           5.

      Therefore, at the time of removal, the Complaint asserts claims by two citizens

of the State of Georgia against only a non-citizen Defendant, Safeco, and there is

complete diversity of citizenship.

                                          -2-
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                                         6.

       In the Complaint, Plaintiff alleges that he made a demand prior to filing suit.

(Complaint, ¶ 16.) Plaintiff demanded payment of the repairs as outlined in the

attached estimate, which totaled $113,371.60. (A copy of Plaintiff’s demand is

attached hereto as Exhibit “B.”) Thus, Plaintiff’s claim is an amount in controversy

which exceeds $75,000.00, exclusive of interest and costs.

                                         7.

      This is a civil action of which this Court has original jurisdiction under the

provisions of 28 U.S.C. § 1332 based on complete diversity of citizenship among

the parties and which may be removed to this Court pursuant to 28 U.S.C. § 1441.

                                         8.

      This Notice of Removal is filed within thirty (30) days of the date of service

of the Complaint on Safeco.

                                         9.

      Defendant attaches as Exhibit “A” to this original pleading only, the entire

record in the State Court of DeKalb County, Georgia action.

                                         10.

      The undersigned has read this Notice of Removal, and to the best of the

undersigned’s knowledge, information and belief, formed after reasonable inquiry,

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it is well-grounded in fact and is warranted by existing law, and it is not interposed

for any improper purpose, such as to harass or to cause unnecessary delay or needless

increase in the cost of litigation.

       WHEREFORE, Defendant hereby removes this action to the United States

District Court for the Northern District of Georgia, Atlanta Division.

       Respectfully submitted this 25th day of July 2023.


                                       ISENBERG & HEWITT, P.C.

                                       /s/ Hilary W. Hunter
                                       Hilary W. Hunter
                                       Georgia Bar No. 742696
                                       600 Embassy Row, Suite 150
                                       Atlanta, Georgia 30328
                                       (770) 351-4400 Telephone
                                       (770) 828-0100 Facsimile
                                       Attorney for Defendant
                                       Safeco Insurance Company of Indiana




                                         -4-
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 EXHIBIT A
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   23A02822
 No.                                                        STATE COURT OF DEKALB COUNTY
                                                                   GEORGIA, DEKALB COUNTY
 Date Summons Issued and E-Filed

      6/23/2023                                                                 SUMMONs

     s/ fVlonica Gay
 Deputy Clerk

 Deposit Paid $                                                                                                              {
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                                                             Plaint~s na},ne an~a~idress
                                                                                 A_     3
                                                                      r~'~ I
                                                             vs.
 [    JURY                                               ~


                                                        ~
                                                                                      '   . ~C~
                                                             Defendant's name:ind address"                                       }
                                                                                                                             I 00 g y
 TO THE ABOVE-NAMED DEFENDANT:

 You are hereby summoned and required to file with the Clerk of State Court, Suite 230, 2.d Floor,
 Administrative Tower, DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia
 30030 and serve up,on the plaintiffs aftorne to v~l ;
               r                           r~t'-~--~~~~~
                                                                                                      --2) )3 4t0


 Phone Number                                                            Georgia Bar No.

an ANSWER to the complaint which is herewith served upon you, within thirty (30) days after
service upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
taken against you for the relief demanded in the complaint. The answer or other responsive
pleading can be filed via electronic filing through eFileGA via www.eFileGA.com or, if desired, at the e-filing public
access terminal in the Clerk's Office at 556 N. McDonough Street, Decatur, Georgia 30030


Defendant's Attorney                                                 Third Party Attorney

Address                                                              Address

Phone No.                               Georgia Bar No.              Phone No.               Georgia Bar No.

                                                   TYPE OF SUIT                   ~         ~\
 ❑ Personal Injury ❑ Products Liability                              Principal
 ❑ Contract ❑ Medical Malpractice
 ❑ Legal Malpractice ❑ Product Liability                             Interest
_k0ther
                                                        Atty Fees $
Access to the e-filing site and the rules is available at www.dekalbstatecourt.net
To ndicate consent to e-service check the box below.
    laintiff consents to e-service pursuant to OCGA 9-11-5 (f). The email address for
service appears in the complaint.
                                                                                                                       STATE COURT OF
                                                                                          E-file summonsl-2016
                                                                                                                    DEKALB COUNTY, GA.
                                                                                                                        6/23/2023 4:34 PM
                                                                                                                                  E-FILED
                                                                                                                          BY: Monica Gay
    Case 1:23-mi-99999-UNA Document 2350 Filed 07/25/23 Page 7 of 81




              IN THE STATE COURT OF DEKALB COUNTY
                        STATE OF GEORGIA
  PRASHANT KALAVAR and SHWETA    I
  KALAVER,
                                                              CIVIL ACTION NO.
         Plaintiffs,                                           23A02822
         vs.
                                                               JURY TRIAL REQUESTED
  DEFENDANT SAFECO INSURANCE
  COMPANY OF INDIANA,

         Defendant.



                                PLAINTIFFS' COMPLAINT

       COIVIES NOW Steph, Plaintiffs herein, by and through their undersigned counsel of record, and

submits this, their Complaint for Damages, hereby stating as follows:

                                JURISDICTION AND VENUE

   1. Plaintiffs Prashant Kalavar and Shweta Kalavar (collectively "Plaintiffs") are Georgia

       Residents.

   2. Defendant Safeco Insurance Company of Indiana ("Defendant" or "Safeco") is a foreign

       insurance company that maintains a duly registered agent and office with the Georgia

       Secretary of State. This Court has subject matter jurisdiction over Defendant pursuant to

       Georgia Constitution of 1983, Article VI, Section IV, Paragraph I and O.C.G.A. §15-7-4.

       This Court has personal jurisdiction over Defendant pursuant to Georgia's Long-Arm

       Statute: O.C.G.A. § 9-10-91. Personal jurisdiction over Defendant will be perfected

       through service upon its registered agent Corporation Service Company at its registered

       office located at 2 Sun Court, Suite 400, Peachtree Corners, Georgia 30092. Venue is

       proper in this county pursuant to O.C.G.A. § 33-4-1(2) and/or (3) because Defendant

       maintained at the time of the events alleged herein and also currently maintains at least one
                                                                                             STATE COURT OF
                                                                                          DEKALB COUNTY, GA.
       or more 1~ lace()                           l) tn Dekalb Coun~•
                       s of doing business or agent/s                                        6/23/2023 4:34 PM
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                                                                                               BY: Monica Gay
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3. This Court has subject matter jurisdiction pursuant to the Georgia Constitution of 1983,

   Article VI, Section IV, Paragraph I.

                              STATEMENT OF FACTS

4. In consideration for the premiums paid to Defendant Safeco, Defendant Safeco issued its

   Policy No. OX5948543 to Prashant Kalavar and Shweta Kalavar (the "Policy")

5. The Policy insures against property damage to Plaintiffs' home located at 8030 Prestwick

   Circle, Duluth, Georgia 30097-6673 ("Subject Property")

6. On or about June 24, 2022, a hidden plumbing line in the Subject Property's basement

   bathroom wall cavity ruptured spewing water all over the ceiling and walls of the bathroom

   and flooding substantially all of the Subject Property's finished basement (the "Incident").

7. Plaintiffs heard "sounds" from upstairs, came downstairs to investigate, discovered the

   flooding, and immediately reported the loss by contacting Defendant Safeco.

8. Plaintiffs also took immediate action to mitigate potential damages by contacting a plumber

   to diagnose and repair the source of the plumbing leak as well as having a remediator

   immediately perform emergency water and wet material removal and move Plaintiffs'

   contents away from the flooding.

9. Defendant Safeco opened claim #049942182-01, and soon thereafter sent out a

   representative to investigate and estimate the loss.

10.Defendant Safeco agreed that the Incident was a covered loss under the Policy.

11.The claims adjuster, however, failed to conduct a reasonable inspection of the loss and did

   not exercise reasonable care or due diligence to investigate the loss.

12.Defendant Safeco underestimated the amount of the loss.

13.As a consequence, Defendant Safeco breached the Policy by refusing to make full

   payments to Plaintiffs for the loss, as required by the Policy.
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14. By virtue of the insufficient payments, however, Defendant Safeco does not dispute that

   the Incident and related water damage and flooding are covered losses under the Policy.

15. Conversely, Plaintiffs consistently paid their premiums to Defendant Safeco and

   affirmatively discharged their duties under the Policy following the loss.

16. On April 17, 2023, Plaintiffs sent, and on April 19th, 2023 Defendant Safeco received, via

   statutory overnight delivery, a bad faith demand letter pursuant to O.C.G.A. § 33-4-6 to

   Defendant Safeco demanding payment within 60 days ("Plaintiffs' Bad Faith Demand")

17.Plaintiffs have provided documentation and reports as well as allowed Defendant to further

   inspect the loss, all in a good faith effort to resolve this dispute without litigation.

18.Despite receiving Plaintiffs' Bad Faith Demand and efforts to negotiate this dispute,

   Defendant Safeco has failed to exercise reasonable care and good faith to fully adjust and

   compensate Plaintiffs for their losses.

19.The water loss caused water and mold damage to the interior of the Subject Property as

   well as Plaintiffs' contents.

20. Defendant Safeco has continued to fail to pay according to the terms of the Policy.

21. Defendant Safeco's failure has prevented the timely remediation and restoration of the

    Subject Property, allowing the structure and its contents to continue to suffer the effects of

   the water damage and allowing the growth of toxic mold within the Subject Property, and

    denying Plaintiffs' the use and enjoyment of their entire basement.

22. Plaintiffs, as a result of Defendant Safeco's conduct, have incurred and continue to incur

    litigation costs, attorneys' fees, and consultant/expert fees associated with this matter.

                      COUNT ONE — BREACH OF CONTRACT

23. Plaintiffs reincorporate the foregoing allegations contained in this Complaint as if fully set

    forth herein.
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24. Plaintiffs have performed all conditions, duties, and obligations pursuant to the Policy,

   including without limitation, the timely payment of premiums, timely notice of the claim,

   mitigation of damages, and/or Defendant Safeco has waived any and all other conditions.

25. Defendant Safeco is required to compensate Plaintiffs for all direct physical losses under

   the terms of the Policy.

26. Despite Plaintiffs' OCGA § 33-4-6 timely demand that Defendant Safeco pay the covered

   losses, Defendant Safeco has frivolously and baselessly failed and refused to exercise

   reasonable care to promptly and fairly adjust and pay Plaintiffs' claim under the terms of

   the Policy.

27. Defendant Safeco has failed to act in good faith and fair dealing under the terms of the

   Policy by refusing to properly investigate and pay Plaintiffs' claim according to the terms

   of the Policy.

28. As a result of Defendant Safeco's delay and denial of Plaintiffs' claim, Plaintiffs have

   sustained covered losses from direct physical damage to the insured Subject Property in an

   amount to be determined at trial.

29. Defendant Safeco's breach of the Policy has resulted in damages to Plaintiffs, and Plaintiffs

   are entitled to the benefit of the bargain with Defendant Safeco - full compensation of the

   covered losses under the Policy.

30. As a result of Defendant Safeco's breach of the Agreement, Plaintiffs are also entitled to

    compensation for the foreseeable damages arising from the breach of the contract,

    including without limitation the mold damage to the basement's interior and contents as

    well as Plaintiffs' loss of use of their basement resulting from Defendant Safeco' failure to

    pay the costs necessary to remediate the water loss, as well .
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   COUNT TWO — O.C.G.A. § 33-4-6: BAD FAITH, ATTORNEY'S FEES AND

                                  LITIGATION COSTS

31. Plaintiffs reincorporate the foregoing allegations contained in this Complaint as if fully set

    forth herein.

32. Defendant Safeco has acted frivolously and without a reasonable basis or justification in

    contravention of its duty of good faith and fair dealing to achieve a proper disposition of

    the Plaintiffs' claim.

33. Defendant Safeco has not attempted in good faith to settle Plaintiffs' claim when, under all

    of the circumstances, it could and should have done so had it acted fairly and honestly

    toward the Plaintiffs and with due regard for his interests, namely, but not limited to, not

    attempting in good faith to effectuate prompt, fair, and equitable settlement of claims

    submitted in which liability has become reasonably clear (O.C.G.A. § 33-6-34(4)),

    knowingly misrepresenting to claimant both relevant facts and policy provisions relating

    to coverages at issue (O.C.G.A. § 33-6-34(1)), failing to adopt and implement procedures

    for the prompt investigation and settlement of Plaintiffs' claims (O.C.G.A. § 33-6-34(3)),

    refusing to pay Plaintiffs' claim without conducting a reasonable investigation (O.C.G.A.

    § 33-6-34(6)), and failing to provide a reasonable and accurate explanation of the basis for

    the denial when requested by Plaintiffs in writing (O.C.G.A. § 33-6-34(10)).

34. The above and foregoing actions of Defendant Safeco give rise to a cause of action for bad

    faith as Defendant Safeco has frivolously and without a reasonable basis refused to pay

    Plaintiffs' covered loss within sixty (60) days after Plaintiffs' timely written demand for

    payment according to O.C.G.A. §33-4-6.
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   35. As a result of Defendant Safeco's bad faith conduct and pursuant to OCGA § 33-4-6,

       Plaintiffs are entitled to additional exemplary damages as well as reimbursement of all

       attorney's fees and litigation costs incurred in pursuing this matter.

       WHEREFORE, Plaintiffs request the following relief:

   A) Plaintiffs request that this case be tried with a jury;

   B) Plaintiffs respectfully requests that this Court enter judgment in favor of Plaintiffs and

       against Defendant Safeco in an amount to be determined at trial to compensate Plaintiffs

       for their costs to (i) diagnose, repair, remediate and restore Plaintiffs' home, (ii) remediate

       and/or replace Plaintiffs' water or mold-damaged personal property, and (iii) to

       compensate Plaintiffs for the loss of use and enjoyment of their basement;

   C) Plaintiffs request that this Court enter Judgment in favor of Plaintiffs and againstDefendant

       Safeco and award Plaintiffs bad faith damages in an amount of fifty percent (50%) of the

       total compensatory damages awarded or $5,000, whichever is greater, for Defendant

       Safeco's bad faith refusal to pay Plaintiffs' covered loss;

   D) Pursuant to O.C.G.A. §33-4-6, Plaintiffs also request that this Court enter Judgment in

       favor of Plaintiffs and against Defendant Safeco and award Plaintiffs their attorneys' fees

       and court costs incurred and to be incurred as a result of this dispute; and

   E) Plaintiffs request that this Court award Plaintiffs any and all other reliefthat this Court may

       deem just and proper, whether such relief sounds in law or equity.

Respectfully submitted this 23rd day of June, 2023.

CARTER JEFFRIES LLC

/s/Carson Jeffries                                     47 Perimeter Center East, Suite 530
CARSON L. JEFFRIES, ESQ.                               Atlanta, GA 30346
Georgia Bar Number 100139                              ph: (404) 341-6653
cjeffries@moldfirm.com
ATTORNEY FOR PLAIlVTIFFS                                  STATE COURT OF
                                                          DEKALB COUNTY, GA.
                                                          6/23/2023 4:34 PM
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                                                          BY: Monica Gay
Case 1:23-mi-99999-UNA Document 2350 Filed 07/25/23 Page 13 of 81




  EXHIBIT B
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Case 1:23-mi-99999-UNA Document 2350 Filed 07/25/23 Page 18 of 81
Company:
                            Case 1:23-mi-99999-UNA ATTACHMENT       A 07/25/23 Page 19 of 81
                                                    Document 2350 Filed
                                                           Air Allergen Mold Testing, Inc.                                       Report Date 02/06/2023
Attention: Prashant Kalavar                                                                                                    Date Received 1/28/2023
                                                    1543 Lilburn Stone-Mountain Road, Suite 200
 Address: 8030 Preswick Circle, Duluth,                                                                                         Analyzed by S. SporeCyte
           GA 30097
                                                             Stone Mountain, GA 30087
                                                   Phone (770) 938-4861 Fax (678) 723-5848                                 Date Ammended
 Project: 8030 Preswick Circle                         Linear Spore Trap Analysis by SOP LAB-SOP-SPT-002                      Report Number 35138


             Location                                 Outside                                  Bathroom                            wall cavity near bath
            AAMT Nbr                                 35138-001                                35138-002                                  35138-003
      Spore Trap Serial #                             02537572                                02528965                                    02520484
     Sample/Cassette Type                      Allergenco D Posi-Track                 Allergenco D Posi-Track                     Allergenco D Posi-Track
       Liters Collected                                 75 L                                     75 L                                       75 L
        Humid/Temp                                     46 / 66                                  54 / 66                                    55 / 66
            Particulate                    Carbon                Soil                 Carbon                  Soil                 Carbon              Soil
                                        Talc/Talc Like                            Talc/Talc Like           InsectPart            InsectPart
        Fibrous Particulate            unident Fibers                             unident Fibers           Insulation           unident Fibers         Insulation


        Skin Fragments                                   16                                      1473                                        720
    Background / Cubic Meter                           66,360                                   805,267                                    424,600
        Hyphae / m ³                                     13                                       320                                        267
         Pollen / m ³                                    173
          Spore Name                   Raw Ct       Spore / m ³ % of Total        Raw Ct       Spore / m ³ % of Total           Raw Ct    Spore / m ³ %Total
     Predominately Outdoor
           Alternaria
           Arthrinium                     1               13          2.5             1             13               1.0
          Ascospores                      17             227         43.7             8            107               8.3           4             53         3.1
         Basidiospores                    10             133         25.6             7             93               7.2           7             93         5.5
            Bipolaris
           Curvularia
           Epicoccum                                                                  1             13               1.0
           Nigrospora
     Periconia/Myxomycete
          Pithomyces
          Spegazzinia
             Torula




               Misc                        6             80          15.4            35            467           36.1             21             280        16.5
         Indoor - Outdoor
      Aspergillus/Penicillium              2             27             5.2          37            493           38.1             90           1,200          70.9
          Cladosporium                     3             40             7.7           8            107               8.3           5             67            4.0


          Water Related
          Chaetomium
          Stachybotrys
          Trichoderma



          Total Spores                    39             520         100             97            1,293         100              127          1,693          100




Limit of Detection @600x                            44                                              44                                            44
Limit of Detection @300x                            13                                              13                                            13
Please see attached sheet for additional information and important notes.

Top 3 organisms =                                Richard Johnson, Laboratory Director
The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2017 Environmental Accreditation # 91033                LAB-FRM-ITS-00



                                                                                  Page 1 of 24
Company:
                            Case 1:23-mi-99999-UNA ATTACHMENT       A 07/25/23 Page 20 of 81
                                                    Document 2350 Filed
                                                           Air Allergen Mold Testing, Inc.                                       Report Date 02/06/2023
Attention: Prashant Kalavar                                                                                                    Date Received 1/28/2023
                                                    1543 Lilburn Stone-Mountain Road, Suite 200
 Address: 8030 Preswick Circle, Duluth,                                                                                         Analyzed by S. SporeCyte
           GA 30097
                                                             Stone Mountain, GA 30087
                                                   Phone (770) 938-4861 Fax (678) 723-5848                                 Date Ammended
 Project: 8030 Preswick Circle                         Linear Spore Trap Analysis by SOP LAB-SOP-SPT-002                      Report Number 35138


             Location                                 Outside                               Wine Celler                                Near bar sink
            AAMT Nbr                                 35138-001                                35138-004                                  35138-005
      Spore Trap Serial #                             02537572                                02536420                                    02535460
     Sample/Cassette Type                      Allergenco D Posi-Track                 Allergenco D Posi-Track                     Allergenco D Posi-Track
       Liters Collected                                 75 L                                     75 L                                       75 L
        Humid/Temp                                     46 / 66                                  54 / 65                                    54 / 66
            Particulate                    Carbon                Soil                 Carbon                  Soil                 Carbon              Soil
                                        Talc/Talc Like                            Talc/Talc Like           InsectPart
        Fibrous Particulate            unident Fibers                             unident Fibers           Insulation           unident Fibers         Insulation


        Skin Fragments                                   16                                      1052                                        855
    Background / Cubic Meter                           66,360                                   696,987                                    653,267
        Hyphae / m ³                                     13                                       253                                        253
         Pollen / m ³                                    173
          Spore Name                   Raw Ct       Spore / m ³ % of Total        Raw Ct       Spore / m ³ % of Total           Raw Ct    Spore / m ³ %Total
     Predominately Outdoor
           Alternaria
           Arthrinium                     1               13          2.5             1             13               1.2
          Ascospores                      17             227         43.7             3             40               3.8           3             40         7.9
         Basidiospores                    10             133         25.6             3             40               3.8           3             40         7.9
            Bipolaris
           Curvularia
           Epicoccum
           Nigrospora                                                                                                              1             13         2.6
     Periconia/Myxomycete
          Pithomyces
          Spegazzinia
             Torula




               Misc                        6             80          15.4            26            347           32.6             22             293        57.9
         Indoor - Outdoor
      Aspergillus/Penicillium              2             27             5.2          28            373           35.0              4             53           10.5
          Cladosporium                     3             40             7.7          19            253           23.7              5             67           13.2


          Water Related
          Chaetomium
          Stachybotrys
          Trichoderma



          Total Spores                    39             520         100             80            1,066         100              38             506          100




Limit of Detection @600x                            44                                              44                                            44
Limit of Detection @300x                            13                                              13                                            13
Please see attached sheet for additional information and important notes.

Top 3 organisms =                                Richard Johnson, Laboratory Director
The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2017 Environmental Accreditation # 91033                LAB-FRM-ITS-00



                                                                                  Page 2 of 24
Company:
                            Case 1:23-mi-99999-UNA ATTACHMENT       A 07/25/23 Page 21 of 81
                                                    Document 2350 Filed
                                                           Air Allergen Mold Testing, Inc.                                       Report Date 02/06/2023
Attention: Prashant Kalavar                                                                                                    Date Received 1/28/2023
                                                    1543 Lilburn Stone-Mountain Road, Suite 200
 Address: 8030 Preswick Circle, Duluth,                                                                                         Analyzed by S. SporeCyte
           GA 30097
                                                             Stone Mountain, GA 30087
                                                   Phone (770) 938-4861 Fax (678) 723-5848                                 Date Ammended
 Project: 8030 Preswick Circle                         Linear Spore Trap Analysis by SOP LAB-SOP-SPT-002                      Report Number 35138


             Location                                 Outside                             Main room center                             Room 1 off main
            AAMT Nbr                                 35138-001                                35138-006                                   35138-007
      Spore Trap Serial #                             02537572                                02529733                                    02520292
     Sample/Cassette Type                      Allergenco D Posi-Track                 Allergenco D Posi-Track                     Allergenco D Posi-Track
       Liters Collected                                 75 L                                     75 L                                       75 L
        Humid/Temp                                     46 / 66                                  54 / 66                                    53 / 66
            Particulate                    Carbon                Soil                 Carbon                  Soil                 Carbon              Soil
                                        Talc/Talc Like                            Talc/Talc Like           InsectPart           Talc/Talc Like         InsectPart
        Fibrous Particulate            unident Fibers                             unident Fibers           Insulation           unident Fibers         Insulation


        Skin Fragments                                   16                                      1323                                        871
    Background / Cubic Meter                           66,360                                   777,440                                    303,693
        Hyphae / m ³                                     13                                       387                                         80
         Pollen / m ³                                    173
          Spore Name                   Raw Ct       Spore / m ³ % of Total        Raw Ct       Spore / m ³ % of Total           Raw Ct     Spore / m ³ %Total
     Predominately Outdoor
           Alternaria
           Arthrinium                     1               13          2.5            3              40            2.6              1             13         6.5
          Ascospores                      17             227         43.7            3              40            2.6              2             27         13.6
         Basidiospores                    10             133         25.6            16            213           14.0              1             13         6.5
            Bipolaris
           Curvularia                                                                 1             13               0.9
           Epicoccum                                                                  1             13               0.9
           Nigrospora
     Periconia/Myxomycete
          Pithomyces                                                                  1             13               0.9
          Spegazzinia
             Torula                                                                   2             27               1.8




               Misc                        6             80          15.4            38            507           33.4              7             93         46.7
         Indoor - Outdoor
      Aspergillus/Penicillium              2             27             5.2          31            413           27.2              3             40           20.1
          Cladosporium                     3             40             7.7          18            240           15.8              1             13            6.5


          Water Related
          Chaetomium
          Stachybotrys
          Trichoderma



          Total Spores                    39             520         100            114            1,519         100              15             199          100




Limit of Detection @600x                            44                                              44                                            44
Limit of Detection @300x                            13                                              13                                            13
Please see attached sheet for additional information and important notes.

Top 3 organisms =                                Richard Johnson, Laboratory Director
The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2017 Environmental Accreditation # 91033                LAB-FRM-ITS-00



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Company:
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                                                    Document 2350 Filed
                                                           Air Allergen Mold Testing, Inc.                                      Report Date 02/06/2023
Attention: Prashant Kalavar                                                                                                   Date Received 1/28/2023
                                                    1543 Lilburn Stone-Mountain Road, Suite 200
 Address: 8030 Preswick Circle, Duluth,                                                                                        Analyzed by S. SporeCyte
           GA 30097
                                                             Stone Mountain, GA 30087
                                                   Phone (770) 938-4861 Fax (678) 723-5848                                Date Ammended
 Project: 8030 Preswick Circle                         Linear Spore Trap Analysis by SOP LAB-SOP-SPT-002                     Report Number 35138


             Location                                 Outside                              Room 2 w/TV                                Room 3 storage
            AAMT Nbr                                 35138-001                                35138-008                                  35138-009
      Spore Trap Serial #                             02537572                                02530656                                   02528389
     Sample/Cassette Type                      Allergenco D Posi-Track                 Allergenco D Posi-Track                    Allergenco D Posi-Track
       Liters Collected                                 75 L                                     75 L                                      75 L
        Humid/Temp                                     46 / 66                                  51 / 65                                   51 / 66
            Particulate                    Carbon                Soil                 Carbon                 Soil                 Carbon              Soil
                                        Talc/Talc Like                            Talc/Talc Like          InsectPart           Talc/Talc Like
        Fibrous Particulate            unident Fibers                             unident Fibers          Insulation           unident Fibers         Insulation


        Skin Fragments                                   16                                       500                                       556
    Background / Cubic Meter                           66,360                                   603,373                                   692,173
        Hyphae / m ³                                     13                                       253                                       293
         Pollen / m ³                                    173
          Spore Name                   Raw Ct       Spore / m ³ % of Total        Raw Ct       Spore / m ³ % of Total          Raw Ct    Spore / m ³ %Total
     Predominately Outdoor
           Alternaria
           Arthrinium                     1               13          2.5
          Ascospores                      17             227         43.7             1            13               1.8
         Basidiospores                    10             133         25.6             4            53               7.2           1             13         2.2
            Bipolaris                                                                 1            13               1.8
           Curvularia
           Epicoccum                                                                                                              2             27         4.5
           Nigrospora
     Periconia/Myxomycete
          Pithomyces
          Spegazzinia
             Torula                                                                   1            13               1.8




               Misc                        6             80          15.4            28            373          51.0             28             373        62.3
         Indoor - Outdoor
      Aspergillus/Penicillium              2             27             5.2          12            160          21.9              4             53            8.8
          Cladosporium                     3             40             7.7           6            80           10.9             10             133          22.2


          Water Related
          Chaetomium
          Stachybotrys                                                                2            27               3.7
          Trichoderma



          Total Spores                    39             520         100             55            732          100              45             599          100




Limit of Detection @600x                            44                                             44                                            44
Limit of Detection @300x                            13                                             13                                            13
Please see attached sheet for additional information and important notes.

Top 3 organisms =                                Richard Johnson, Laboratory Director
The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2017 Environmental Accreditation # 91033               LAB-FRM-ITS-00



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Company:
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                                                    Document 2350 Filed
                                                           Air Allergen Mold Testing, Inc.                                       Report Date 02/06/2023
Attention: Prashant Kalavar                                                                                                    Date Received 1/28/2023
                                                    1543 Lilburn Stone-Mountain Road, Suite 200
 Address: 8030 Preswick Circle, Duluth,                                                                                         Analyzed by S. SporeCyte
           GA 30097
                                                             Stone Mountain, GA 30087
                                                   Phone (770) 938-4861 Fax (678) 723-5848                                 Date Ammended
 Project: 8030 Preswick Circle                         Linear Spore Trap Analysis by SOP LAB-SOP-SPT-002                      Report Number 35138


             Location                                 Outside                               Utility Room                            Main Rm East Wall
            AAMT Nbr                                 35138-001                                35138-010                                  35138-011
      Spore Trap Serial #                             02537572                                02529157                                    02538340
     Sample/Cassette Type                      Allergenco D Posi-Track                 Allergenco D Posi-Track                     Allergenco D Posi-Track
       Liters Collected                                 75 L                                     75 L                                       75 L
        Humid/Temp                                     46 / 66                                  46 / 68                                    54 / 66
            Particulate                    Carbon                Soil                 Carbon                  Soil                 Carbon              Soil
                                        Talc/Talc Like                            Talc/Talc Like           InsectPart           Talc/Talc Like         InsectPart
        Fibrous Particulate            unident Fibers                             unident Fibers           Insulation           unident Fibers         Insulation


        Skin Fragments                                   16                                       661                                        122
    Background / Cubic Meter                           66,360                                   885,507                                    418,240
        Hyphae / m ³                                     13                                       347                                         27
         Pollen / m ³                                    173                                       13
          Spore Name                   Raw Ct       Spore / m ³ % of Total        Raw Ct       Spore / m ³ % of Total           Raw Ct    Spore / m ³ %Total
     Predominately Outdoor
           Alternaria                                                                1              13            0.7
           Arthrinium                     1               13          2.5            2              27            1.5
          Ascospores                      17             227         43.7            2              27            1.5
         Basidiospores                    10             133         25.6            49            653           35.2
            Bipolaris
           Curvularia
           Epicoccum
           Nigrospora
     Periconia/Myxomycete
          Pithomyces                                                                  1             13               0.7
          Spegazzinia
             Torula




               Misc                        6             80          15.4            31            413           22.3              4             53         19.9
         Indoor - Outdoor
      Aspergillus/Penicillium              2             27             5.2          30            400           21.6             15             200          75.2
          Cladosporium                     3             40             7.7          23            307           16.6              1             13            4.9


          Water Related
          Chaetomium
          Stachybotrys
          Trichoderma



          Total Spores                    39             520         100            139            1,853         100              20             266          100




Limit of Detection @600x                            44                                              44                                            44
Limit of Detection @300x                            13                                              13                                            13
Please see attached sheet for additional information and important notes.

Top 3 organisms =                                Richard Johnson, Laboratory Director
The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2017 Environmental Accreditation # 91033                LAB-FRM-ITS-00



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                                                    Document 2350 Filed
                                                           Air Allergen Mold Testing, Inc.                                      Report Date 02/06/2023
Attention: Prashant Kalavar                                                                                                   Date Received 1/28/2023
                                                    1543 Lilburn Stone-Mountain Road, Suite 200
 Address: 8030 Preswick Circle, Duluth,                                                                                        Analyzed by S. SporeCyte
           GA 30097
                                                             Stone Mountain, GA 30087
                                                   Phone (770) 938-4861 Fax (678) 723-5848                                Date Ammended
 Project: 8030 Preswick Circle                         Linear Spore Trap Analysis by SOP LAB-SOP-SPT-001                     Report Number 35138


             Location                                 Outside                             Main Rm So Wall
            AAMT Nbr                                 35138-001                                35138-012
      Spore Trap Serial #                             02537572                                02528581
     Sample/Cassette Type                      Allergenco D Posi-Track                 Allergenco D Posi-Track
       Liters Collected                                 75 L                                     75 L
        Humid/Temp                                     46 / 66                                  55 / 66
            Particulate                    Carbon                Soil                 Carbon                 Soil
                                        Talc/Talc Like                            Talc/Talc Like          InsectPart
        Fibrous Particulate            unident Fibers                             unident Fibers          Insulation


        Skin Fragments                                   16                                       266
    Background / Cubic Meter                           66,360                                   605,693
        Hyphae / m ³                                     13                                        53
         Pollen / m ³                                    173                                       13
          Spore Name                   Raw Ct       Spore / m ³ % of Total        Raw Ct       Spore / m ³ % of Total          Raw Ct   Spore / m ³ %Total
     Predominately Outdoor
           Alternaria
           Arthrinium                     1               13          2.5
          Ascospores                      17             227         43.7             1            13               2.0
         Basidiospores                    10             133         25.6             4            53               8.3
            Bipolaris
           Curvularia
           Epicoccum
           Nigrospora
     Periconia/Myxomycete
          Pithomyces
          Spegazzinia
             Torula




               Misc                        6             80          15.4             5            67           10.5
         Indoor - Outdoor
      Aspergillus/Penicillium              2             27             5.2          28            373          58.4
          Cladosporium                     3             40             7.7          10            133          20.8


          Water Related
          Chaetomium
          Stachybotrys
          Trichoderma



          Total Spores                    39             520         100             48            639          100




Limit of Detection @600x                            44                                             44
Limit of Detection @300x                            13                                             13
Please see attached sheet for additional information and important notes.

Top 3 organisms =                                Richard Johnson, Laboratory Director
The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2017 Environmental Accreditation # 91033             LAB-FRM-ITS-00



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                                                   Air Allergen Mold Testing, Inc.                        Report Date 02/06/2023
Attention: Prashant Kalavar                                                                             Date Received 1/28/2023
                                            1543 Lilburn Stone-Mountain Road, Suite 200
 Address: 8030 Preswick Circle, Duluth,                                                                  Analyzed by S. SporeCyte
           GA 30097
                                                     Stone Mountain, GA 30087
                                           Phone (770) 938-4861 Fax (678) 723-5848                    Date Amended
 Project: 8030 Preswick Circle                   Linear Spore Trap Analysis by SOP LAB-SOP-SPT-002     Report Number 35138

                                                             Spore Trap Comments




 The uncertainty of measurement associated with the measurement results contained in the report is available upon request.

 Background is a combination of debris, skin and fibers.
 * Water Related refers to organisms that are commonly found in areas of high
 water activity. This can be in the form of high Relative Humidity (RH), meaning
 consistently above 50%.
 **Spore Total symbols are; ND is None Detected, DS is Defective Slide and NT is
 No Trace                                                                          Richard Johnson, Laboratory Director

                                                                                                               LAB-FRM-ITS-003
    AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2017 Environmental Accreditation # 91033




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Company:                                   Air Allergen Mold Testing,                                       Report Date 02/06/2023
Attention: Prashant Kalavar               1543 Lilburn Stone-Mountain Road, Suite 200                     Date Received 1/28/2023
 Address: 8030 Preswick Circle Duluth,             Stone Mountain, GA 30087                                Analyzed by S. SporeCyte
           GA 30097                      Phone (770) 938-4861 Fax (678) 723-5848
                                                                                                          Job Number 35138
 Project 8030 Preswick Circle                              Report Number 35138                           DateAmended
                                                      Direct Exam Microscopic Analysis
                                                          by SOP LAB-SOP-DIR-001

                Location                   Main rm base plate                      Location                    Bar foot supports
              AAMT Nbr                          35138-013                         AAMT Nbr                        35138-014
               Sample ID                           SW 1                           Sample ID                          SW 2
             SampleType                            Swab                          SampleType                          Swab
            Background 1                           Dust                          Background 1                        Dust
           Humidity/Temp                             /                         Humidity/Temp                           /
               Dustmites                          Absent                          Dustmites                         Absent
                Hyphae                          Moderate                            Hyphae                        Moderate
              Spore Type                      Amount               FS             Spore Type                      Amount              FS
         Aspergillus / Penicillium              > 90 %                       Aspergillus / Penicillium             > 90 %




  The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
  Qualitative analysis
  Predominant = major spore type on slide. More than one spore type can be
  Predominant.
  Moderate = < 50% of slide.
  Rare = < 10% of slide.
  FS = Fruiting structures present. Indicates fungi is currently growing.
                                                                                       Richard Johnson, Laboratory Director

                                                                                                               LAB-FRM-ITS-004
    AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2005 Environmental Accreditation # 91033




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Company:                                   Air Allergen Mold Testing,                                       Report Date 02/06/2023
Attention: Prashant Kalavar               1543 Lilburn Stone-Mountain Road, Suite 200                     Date Received 1/28/2023
 Address: 8030 Preswick Circle Duluth,             Stone Mountain, GA 30087                                Analyzed by S. SporeCyte
           GA 30097                      Phone (770) 938-4861 Fax (678) 723-5848
                                                                                                          Job Number 35138
 Project 8030 Preswick Circle                              Report Number 35138                           DateAmended
                                                      Direct Exam Microscopic Analysis
                                                          by SOP LAB-SOP-DIR-001

                Location                    Bathroom Cabinet                       Location                    Media room sofa
              AAMT Nbr                          35138-015                         AAMT Nbr                        35138-016
               Sample ID                           SW 3                           Sample ID                          SW 4
             SampleType                            Swab                          SampleType                          Swab
            Background 1                           Dust                          Background 1                        Dust
           Humidity/Temp                             /                         Humidity/Temp                           /
               Dustmites                          Absent                          Dustmites                         Absent
                Hyphae                             Rare                             Hyphae                        Moderate
              Spore Type                      Amount               FS             Spore Type                      Amount              FS
         Aspergillus / Penicillium               Rare                             Basidiospores                   Moderate
                                                                             Aspergillus / Penicillium            Moderate




  The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
  Qualitative analysis
  Predominant = major spore type on slide. More than one spore type can be
  Predominant.
  Moderate = < 50% of slide.
  Rare = < 10% of slide.
  FS = Fruiting structures present. Indicates fungi is currently growing.
                                                                                       Richard Johnson, Laboratory Director

                                                                                                               LAB-FRM-ITS-004
    AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2005 Environmental Accreditation # 91033




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Company:                                   Air Allergen Mold Testing,                                       Report Date 02/06/2023
Attention: Prashant Kalavar               1543 Lilburn Stone-Mountain Road, Suite 200                     Date Received 1/28/2023
 Address: 8030 Preswick Circle Duluth,             Stone Mountain, GA 30087                                Analyzed by S. SporeCyte
           GA 30097                      Phone (770) 938-4861 Fax (678) 723-5848
                                                                                                          Job Number 35138
 Project 8030 Preswick Circle                              Report Number 35138                           DateAmended
                                                      Direct Exam Microscopic Analysis
                                                          by SOP LAB-SOP-DIR-001

                Location                    Furnature in Rm 1                      Location                   Front surface of bar
              AAMT Nbr                          35138-017                         AAMT Nbr                        35138-018
               Sample ID                           SW 5                           Sample ID                          SW 6
             SampleType                            Swab                          SampleType                          Swab
            Background 1                           Dust                          Background 1                        Dust
           Humidity/Temp                             /                         Humidity/Temp                           /
               Dustmites                          Absent                          Dustmites                         Absent
                Hyphae                          Moderate                            Hyphae                         Moderate
              Spore Type                      Amount               FS             Spore Type                      Amount              FS
         Aspergillus / Penicillium              > 90 %                       Aspergillus / Penicillium           Predominant
                                                                                    Curvularia                      Rare




  The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
  Qualitative analysis
  Predominant = major spore type on slide. More than one spore type can be
  Predominant.
  Moderate = < 50% of slide.
  Rare = < 10% of slide.
  FS = Fruiting structures present. Indicates fungi is currently growing.
                                                                                       Richard Johnson, Laboratory Director

                                                                                                               LAB-FRM-ITS-004
    AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2005 Environmental Accreditation # 91033




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Company:                                   Air Allergen Mold Testing,                                       Report Date 02/06/2023
Attention: Prashant Kalavar               1543 Lilburn Stone-Mountain Road, Suite 200                     Date Received 1/28/2023
 Address: 8030 Preswick Circle Duluth,             Stone Mountain, GA 30087                                Analyzed by S. SporeCyte
           GA 30097                      Phone (770) 938-4861 Fax (678) 723-5848
                                                                                                          Job Number 35138
 Project 8030 Preswick Circle                              Report Number 35138                           DateAmended
                                                      Direct Exam Microscopic Analysis
                                                          by SOP LAB-SOP-DIR-001

                Location                   Ping Pong Table Leg                     Location                       Wine rack
              AAMT Nbr                          35138-019                         AAMT Nbr                        35138-020
               Sample ID                           SW 7                           Sample ID                          SW 8
             SampleType                            Swab                          SampleType                          Swab
            Background 1                           Dust                          Background 1                        Dust
           Humidity/Temp                             /                         Humidity/Temp                           /
               Dustmites                          Absent                          Dustmites                         Absent
                Hyphae                          Moderate                            Hyphae                        Moderate
              Spore Type                      Amount               FS             Spore Type                      Amount              FS
         Aspergillus / Penicillium              > 90 %                       Aspergillus / Penicillium             > 90 %




  The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
  Qualitative analysis
  Predominant = major spore type on slide. More than one spore type can be
  Predominant.
  Moderate = < 50% of slide.
  Rare = < 10% of slide.
  FS = Fruiting structures present. Indicates fungi is currently growing.
                                                                                       Richard Johnson, Laboratory Director

                                                                                                               LAB-FRM-ITS-004
    AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2005 Environmental Accreditation # 91033




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Company:                                                       Air Allergen Mold Testing, Inc.
Attention: Prashant Kalavar                       1543 Lilburn Stone-Mountain Road, Suite 200                           Report Date 02/06/2023
 Address: 8030 Preswick Circle Duluth,                     Stone Mountain, GA 30087                                   Date Received 1/28/2023
           GA 30097                              Phone (770) 938-4861 Fax (678) 723-5848                               Analyzed by M. Khan
                                                             Report Number        35138                               Job Number 35138
 Project: 8030 Preswick Circle                               Culture Plate Analysis of Bulk, Dust, Swab               Date Amended
                                                                for Fungi by SOP LAB-SOP-DST-002

          Location                       Media room carpet                                                 Storage Room carpet
       AAMT Nbr                                35138-021                                                          35138-022
       Sample ID                                  CD 2                                                              CD 3
      SampleType                                  Dust                                                              Dust
   Metrics/Measure                0.3247                         gram                          0.1784                                        gram
 Limit of     Dilution    Raw              Identification               CFU/      Limit of   Dilution     Raw              Identification                CFU/
Detection                 Count                                                  Detection                Count
   3080        0.001       32              Aspergillus sp.              98,553      561       0.01          3               Bipolaris sp.                1,682

    308         0.01        2          Chaetomium sp. (b)                616       5605       0.001         1           Cladosporium sp.                 5,605

   3080        0.001        5            Cladosporium sp.               15,399     5605       0.001         1              Curvularia sp.                5,605

    308         0.01        2            Epicoccum nigrum                616        561       0.01          1               Eurotium sp.                 561

   3080        0.001        2               Eurotium sp.                6,160       561       0.01          3              Penicillium sp.               1,682

   3080        0.001       12              Penicillium sp.              36,957      561       0.01         18           Wallemia sebi (a)               10,090

   3080        0.001        1           Rhodotorula sp. (b)             3,080

   3080        0.001        3            Wallemia sebi (a)              9,239

    308         0.01        6                Yeast (b)                  1,848




                                         Total                    172,467/gram                                             Total                    25,224/gram




The uncertainty of measurement associated with the measurement results contained in the report is available upon request.
(a) = ERMI Group 1
(b) = associated with high water activity
(c) = major contributor of Aspergillosis
Samples grown on Malt Extract , DG18 and Cellulose agars.
Limit of Detection based upon the dilution plate that fungi were counted.
                                                                                                          Richard Johnson, Laboratory Director
Standard Limit of Detection for all samples = 100 CFU
                                                                                                              LAB-FRM-ITS-005
   AIHA Culture Proficiency Analytical Testing Participant # 199873 PJLA ISO/IEC 17025:2005 Environmental Accreditation # 91033




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  Company                Air Allergen
  Project                 8030 Preswick Circle
  Location                Media room carpet
  SampleType              Dust
  AAMT Nbr                35138-021
  Date Analyzed           02/06/2023


Information on specific organisms listed can be viewed on our Fungal
Organisms Description page.
Background particle information can be found on the How to Read Our
Reports section.
                                                                        Richard Johnson, Laboratory Director




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                                                                                                                  How To Read Our Reports
                                                   Volume (L)                      75
                                                    Particulate                   soil                            Amount of air sampled out of 1000 liters
                                            Fibrous Particulate                 insulation


                                            Skin Fragments %                     26-50
                                                                                                                  Total particles in 1 cubic meter of air
                                              Background / m3                   126,853
                                                                                                                  (1000 liters)
                                                  Hyphae / m3                     1067

                                                                    Raw                            %
                                            Spore Name              Count        Spores/m3        Total

                                                    Alternaria              2                83     0.4
                                                    Arthrinium                                            How many spores the analyst counted (raw count)
                                                 Arthrospores
                                                   Ascospores
                                                Basidiospores
                Predominantly Outside




                                                      Bipolaris
                                                    Curvularia
                                                   Epicoccum                                                      Percent of the total spores present per cubic
                                                   Nigrospora               5             207       0.9           meter
                                        Periconia/Myxomycete
                                                   Pithomyces
                                                  Spegazzinia
                                                     Tetraploa
                                                        Torula
                                               Urediniospores
                                                                                                                  Total number of spores after formula applied to
                                                                                                                  raw spores count, which will equal how many
      Outside
      Inside /




                                        Aspergillus/Penicillium         400          16,593        73.1           spores there are per 1 cubic meter of air
                                                Cladosporium            127              5,268     23.2
Water Related




                                                  Chaetomium             10               415       1.8
                                                 Stachybotrys               3             124       0.5
                                                                                                                  Total spores in this sample per 1 cubic meter of
                                                  Trichoderma
                                                                                                                  air.
                                                   Ulocladium


                                                         Total          547          22,690         100

                                        Please see attached sheet for additional information and
                                        important notes.
                                        Limit of Detection @
                                        600x                             44
                                        Limit of Detection @
                                        300x                             13                               Each spore counted by the analyst represents this
                                                                                                          many spores at 1 cubic meter, at the specified
                                                                                                          magnification




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                                How to Read Our Reports

 The major groups of spores are separated into                                ,

        Predominantly Outside        .Inside / Outside        Water Related

  This is to make it easier to compare important groupings on the report.

1. The spore types, as well as the number identified is important. High levels of Aspergillus /
   Penicillium, and any level of the Water Related organisms should be of concern.

2. The Outside sample is used to verify that the sampling equipment is operating correctly. The
   Outside sample can also be used to determine if the HVAC is operating properly and as a
   comparison to the spores recovered inside.
3. The Background is represented as particles per cubic meter. The higher the number of particles
   the more likely that the HVAC is not operating correctly, or there may be overcrowding in the
   room. High levels of particles can also be an indicator of poor air quality that can lead to
   respiratory irritation.
4. Skin fragments are common in the indoor air. As the % of fragments rise, the more chance that
   it may be indicating poor circulation or overcrowding.
5. Particles and Fibers If there is something important to note or if dust mite parts are observed, it
   will be noted on the SPORE TRAP COMMENTS page. Only major categories are listed.
6. Hyphae are analogous to the stem of a plant. The spores arise from the hyphae, therefore,
   hyphae should be taken into account when looking at the total spore count, although they are not
   a part of that number. Hyphae can also give rise to new fungus growth
7. The spore types are explained in the Organism section of the report.
8. The Limit of Detection is equal to one spore counted by the analyst divided by the inverse of the
   volume sampled and by the percent of the slide analyzed. If the detection limit is 44, it means that
   every spore in the raw count equals 44 spores of that type in 1 cubic meter of air for 75 liters of air
   collected, with an analysis of 30% of the slide at 600x (magnification).
9. Not all spores can be definitively categorized due to the similarity in morphologies. Spores are
   classified according to the closest scientific description available.




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                                                                                                     FUNGAL ORGANISM DESCRIPTIONS

                                                                                                                                           High Water
                                  Organism                       Recovered From                 Comments            Inside / Outside         Activity     Mycotoxins                 Health Risk                           Found in
                     Genus                 Species                                                                    Spore Type             Indicator     Produced                      Type                         Combination with
                    Acremonium               species           soil, dead leaves, carpet,    generally recovered    Often recovered              YES           NO                 keratitis, mycetoma,             Stachybotrys, Chaetomium,
                                                                      gypsum board            lin large numbers from water damaged                                                    aspergillosis                 Trichoderma, Aspergillus,
                                                                                                                 inside wall board and                                                                                     Penicillium
                                                                                                                       carpeting


                    Alternaria               alternata         carpet and air. Mostly an       occurs in small            OUT                    YES           YES          phaeohypho-mycosis, infections            Bipolaris, Curvualria,
                    Alternaria                  sp.           outside spore on plants and         amounts                                                                   of bone, cutaneous tissue, ears,       Cladosporium, Pithomyces,
                                                                         in soil                                                                                              eyes, paranasal sinuses and           Epicoccum, Drechslera,
                                                                                                                                                                                      urinary tract              Exserohilum, Helminthosporium


                   Arthrinium                species            soil, forest litter, plant  not often occuring            OUT                                  NO                         NA                          Curvualria, Bipolaris,
                                                              materials, decaying wood,      inside, generally                                                                                                     Cladosporium, Pithomyces,
                                                               decaying wood in crawl      outside in moderate                                                                                                            Epicoccum
                                                                         spaces              numbers. Often
                                                                                            found on decaying
                                                                                               wood in crawl
                                                                                                  spaces



                   Ascospores                                 wide variety of substrates.     at certain times of         OUT              Chaetomium     dependent on         Not generally involved with        Basidiospores (if outside), not
                                                               Plant, soil, air, cellulose   year, found in large                           globosum,    genus or species           human disease.              generally recovered on laboratory
                                                               materials, wood in crawl       numbers outside                                Eurotium       recovered                                                        media.
                                                                       spaces                                                             species - YES.
                                                                                                                                            Most other
                                                                                                                                            genera and
                                                                                                                                           species, NO


                   Aspergillus                flavus          common in seeds, nuts and                                  BOTH                    YES           YES          Respiratory pathogen. Second          Aspergillus sp, Penicillium sp.
                                                                      cereals                                                                                               most often cause of aspergillosis
                                                                                                                                                                             and/or invasive aspergillosis



                  Aspergillus              fumigatus              Air, Carpet, HVAC           Must be < 1. Not            NA                         NA        YES            Respiratory pathogen. Most        Aspergillus versicolor, Aspergillus
                 (Neosartorya)              (fischeri)                                        tolerated at any                                                                often cause of aspergillosis         sydowii, Aspergillus niger,
                                                                                                level inside.                                                                 and/or invasive aspergillosis     Penicillium sp., Cladosporium sp.,
                                                                                                                                                                                                                             bacteria


                   Aspergillus         brasiliensis / niger         food, indoor air                                     BOTH                    YES           YES                    aspergillosis               other Aspergillus, Penicillium




                   Aspergillus             ochraceus           coffee beans, spices, soil                                BOTH                    YES           YES                    aspergillosis             Aspergillus versicolor, Aspergillus
                                                                                                                                                                                                                   sydowii, Aspergillus niger,
                                                                                                                                                                                                                Penicillium sp., Cladosporium sp.,
                                                                                                                                                                                                                             bacteria




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                                                                                                                         High Water
                  Organism                        Recovered From                Comments          Inside / Outside         Activity       Mycotoxins                Health Risk                           Found in


                     Genus        Species                                                           Spore Type             Indicator       Produced                     Type                        Combination with
                   Aspergillus     species     soil, food, air, carpet, HVAC   Large amounts           BOTH                  YES               YES               aspergillosis, allergy                   Penicillium
                                                                               when recovered                           several species   several species

                 Aspergillus      sydowii          soil, food, leather                                 BOTH                   YES              NO                   aspergillosis              other Aspergillus, Penicillium


                 Aspergillus       ustus              food, indoor                                     BOTH                   YES              NO                   aspergillosis              other Aspergillus, Penicillium
                                                      environment

                   Aspergillus    versicolor    HVAC, insulation, carpet,      Must be < 1. Not         NA                         NA          YES                   aspergillosis              Aspergillus sydowii, Aspergillus
                                                          air                  tolerated at any                                                                                                  fumigatus, Aspergillus usuts
                                                                                 level inside.


                Aureobasidium     pullulans       food, indoor, soil, leaf,                           INSIDE                   YES             NO           corneal, peritoneal, cutaneous,         yeasts, Chaetomium,
                                                seeds, fruit drinks, carpet,                                                                                 pulmonary, systemic mycosis         Stachybotrys, Trichoderma,
                                                         wet areas                                                                                                                                 Aspergillus, Penicillium


                 Basidiospores                    soil, wood, cellulose         large amounts        OUTSIDE                   YES        NO for air, YES   NONE from air.         Some           Ascospores, recovered on
                                                materials, plywood when                                                                     for some          mushrooms ingested can               laboatory media as sterile
                                                wet related to "wood rot"                                                                  mushrooms          contain dangerous toxins            mycelium, sometimes with
                                                                                                                                                                                                 "clamps" and/or arthrospores



                     Bispora         sp.                soil, wood                                   OUTSIDE                       NO          NO                         NA                        Bipolaris, Curvualria,
                                                                                                                                                                                                 Cladosporium, Pithomyces,
                                                                                                                                                                                                  Epicoccum, Drechslera,
                                                                                                                                                                                               Exserohilum, Helminthosporium


                   Chrysonilia    Species                   soil                also known as          BOTH                        NO          NO                         NA                                  NA
                                                                                 Neurospora


                  Chaetomium       species       Ascospore commonly            Large amounts          INSIDE                   YES             NO            occasionally associated with          yeasts, Stachybotrys,
                  Chaetomium      globosum        associated with wet          when recovered                                                               infections of blood, brain, skin      Trichoderma, Aspergillus,
                                               gypsum board. Present in                                                                                                and nails                         Penicillium
                                                          soil




                                                                                                                                                                                                                                            AAMT
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                                                                                                                                  High Water
                  Organism                             Recovered From                  Comments            Inside / Outside         Activity         Mycotoxins               Health Risk                           Found in


                     Genus           Species                                                                 Spore Type             Indicator         Produced                    Type                         Combination with
                 Cladosporium     cladosporioides    plant material, soil, indoor    common spore in            BOTH                        NO            NO                        NA                        Alternaria, Curvualria,
                                                         air, carpet, HVAC             the indoor air.                                                                                                       Pithomyces, Epicoccum,
                                                                                    Indicates normal air                                                                                                     Drechslera, Exserohilum,
                                                                                     when greater than                                                                                                           Helminthosporium
                                                                                             C.
                                                                                     sphaerospermum
                 Cladosporium     sphaerospermum     plant material, soil, indoor     high amount in            BOTH                    YES               NO                        NA                    Cladosporium cladosporioides,
                                                         air, carpet, HVAC          indoor air indicates                                                                                                  Aspergillus sp., Penicillium sp.
                                                                                      poor air quality

                 Cladosporium        species         plant material, soil, indoor                               BOTH                        NO            NO                        NA                        Alternaria, Curvualria,
                                                         air, carpet, HVAC                                                                                                                                   Pithomyces, Epicoccum,
                                                                                                                                                                                                             Drechslera, Exserohilum,
                                                                                                                                                                                                                 Helminthosporium

                   Curvularia        species        soil, plant material, carpet,                               BOTH                                                 opportunisitc pathogen of cornea Alternaria,Cladosporium species
                                                    cellulose materials (paper)                                                                                          and sinuses. Related to          Pithomyces, Epicoccum,
                                                                                                                                                                     keratitis, endocarditis, mycetoma    Drechslera, Exserohilum,
                                                                                                                                                                         and pulmonary infection.             Helminthosporium



                     Dicyma          species                     soil               related to wood rot          OUT                    YES               NO                        NA                      Chaetomium, Stachybotrys,
                                                                                                                                                                                                                  Trichoderma




                    Epicooum          nigrum          plants, soil, carpet, air,    generally recovered primarily outside but               NO            NO                       None                       Alternaria, Curvualria,
                                                               seeds                 in small numbers is common inside, as                                                                               Cladosporium spcies, Pithomyces,
                                                                                                                well.                                                                                        Drechslera, Exserohilum,
                                                                                                                                                                                                                Helminthosporium



                    Eurotium       amstelodami      soil, variety of food, indoor                               BOTH                  NO                  NO                   aspergillosis                  Aspergillus, Penicillium
                    Eurotium       herbariorum                    air                                                              Although,
                                                                                                                                Xerophillic, often
                                                                                                                                 found in water
                                                                                                                                   damaged
                                                                                                                                   buildings.

                    Fusarium         species           grains, soils, apples,           few, when               BOTH                        NO            YES        keratitis, occasionally mycetoma,       Aspergillus, Penicillium,
                                                    potatoes, sugar beet, maize         recovered                                                    several species   sinusitis, septic arthritis and       Acremonium, Epicoccum
                                                                                                                                                                        onychomycosis. Contains
                                                                                                                                                                           highly toxic secondary
                                                                                                                                                                       metabolites when ingested in
                                                                                                                                                                              some food grains.




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                                                                                                                                 High Water
                                  Organism                 Recovered From             Comments            Inside / Outside         Activity     Mycotoxins                Health Risk                           Found in

                     Genus               Species                                                            Spore Type             Indicator     Produced                      Type                        Combination with
                 Microspcorum                species     human and animal scalp,    rarely recovered in          IN                        NO        NO              dermatophyte. Ringworm,            Trichopyton, Epidermophyton
                                                               skin, nails              air samples                                                              infections of skin, scalp and nails



                      Mucor                  species     soil, wet damp materials   common bread mold          BOTH                    YES           NO          Common cause of zygomycosis                 Rhizopus, Absidia,
                                                                                                                                                                                                              Cunninghamella,
                                                                                                                                                                                                             Syncephalastrum

                Myxomycete                                  plant pathogen            low, outside           OUTSIDE                   NO            NO                         NO                     seen at various times of the
                                                                                                                                                                                                          years outside with a
                                                                                                                                                                                                       combination of other outside
                                                                                                                                                                                                                 spores

                 Nigrospora              species        carpet, air, soil, plants                              BOTH                    NO            NO                        None                     Alternaria,Cladosporium
                                                                                                                                                                                                          species Pithomyces,
                                                                                                                                                                                                        Epicoccum, Drechslera,
                                                                                                                                                                                                              Exserohilum,
                                                                                                                                                                                                           Helminthosporium

               Paecilomyces                  variotii        soil, compost            thermophillic            Both                   YES           YES             sinusitis, eye infections            Aspergillus, Penicillium


                  Penicillium                  sp.             soil, food             most common              Both                   YES           YES                   Aspergillosis                Aspergillus, Paecilomyces
                                                                                    spore type found                                               several
                                                                                     in the indoor air                                          species of the
                                                                                                                                                approximately
                                                                                                                                                 200 known
                   Periconia             species            plant pathogen            low, outside           OUTSIDE                   NO            NO                         NO                     seen at various times of the
                                                                                                                                                                                                          years outside with a
                                                                                                                                                                                                       combination of other outside
                                                                                                                                                                                                                 spores
                     Phoma               species        plant, soil, caroet, wood                              BOTH                    NO            NO               occsional agent of               found in combination with a
                                                                                                                                                                     phaeohyphomycosis                  variety of wood rot or plant
                                                                                                                                                                                                              pathogen fungi

                 Pithomyces              species        soil, air, plant material   at certain times         OUTSIDE                   NO            NO                       NONE                      Alternaria,Cladosporium
                                                                                    of the year can                                                                                                       species, Epicoccum,
                                                                                    be recovered in                                                                                                     Drechslera, Exserohilum,
                                                                                       moderate                                                                                                            Helminthosporium
                                                                                     amounts from
                   Rhizopus              species            soil, damp wet             outsidebread
                                                                                    common      air            BOTH                   YES            NO            Most common cause of                      Mucor, Absidia,
                                                              materials                   mold                                                                          zygomycosis                         Cunninghamella,
                                                                                                                                                                                                            Syncephalastrum




                                                                                                                                                                                                                                                AAMT
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                  Genus            Species                                                   Spore Type             Indicator   Produced               Type                   Combination with
                Rhodotorula        species        wood, behind wall     pink, orange or        BOTH                   YES          NO                  NONE                    Sporobolomyces,
                                                   paper, cellulose    red yeast, needs                                                                                         Aureobasidium,
                                                  products, carpets     very high water                                                                                    Chaetomium, Stachybotrys
                                                                         activity levels

              Scopulariopsis      brevicaulis      soil, wood, food        has a                BOTH                    NO         NO        Can infect toenail. May be      Aspergillus, Penicillium
                                                                        characteristic                                                       a risk or subcutaneous or
                                                                       ammoniacal odor                                                        invasive infections of the
                                                                                                                                                immunocompromised

                 Spegazzinia       species           soil, plants        very small           OUTSIDE                   NO         NO                   NO                 seen at various times of the
                                                                       numbers outside                                                                                        years outside with a
                                                                                                                                                                           combination of other outside
                                                                                                                                                                                     spores

                  Sporothrix       species        soil, wood, moss                              BOTH                                          one species is known to
                                                                                                                                              cause human infections


                Stachybotrys      chartarum       Most often actively Must be < 1. Not     Most often                  YES         YES         Neurotoxic. Toxins are      Chaetomium, Trichoderma,
                Stachybotrys       echinata        growing on the      tolerated at any recovered inside                                     damaging to organs but the     Acremonium, Ulocladium,
                                                 backside of gypsum       level inside,                                                      spores do not grow at body         Aspergillus usuts
                                                board. Carpet, HVAC         although                                                                temperature.
                                                provide sparse growth individual spores
                                                 and sometimes only    are occasionally
                                                       spores            brought in on
                                                                        shoes from the
                                                                               soil.

                Stemphylium        species        soil, grass, wood,   in small numbers       OUTSIDE                   NO         NO                  NONE                 Alternaria,Cladosporium
                                                         paper              outside                                                                                           species, Epicoccum,
                                                                                                                                                                            Drechslera, Exserohilum,
                                                                                                                                                                               Helminthosporium,
                                                                                                                                                                            Curvularia, Pithomyces,
                                                                                                                                                                                    Bipolaris

                   Tetraploa       species          plant material       very small           OUTSIDE                   NO         NO                   NO                 seen at various times of the
                                                                       numbers outside                                                                                        years outside with a
                                                                                                                                                                           combination of other outside
                                                                                                                                                                                     spores
                      Torula       species           soil, plants        very small           OUTSIDE                   NO         NO                   NO                 seen at various times of the
                                                                       numbers outside                                                                                        years outside with a
                                                                                                                                                                           combination of other outside
                                                                                                                                                                                     spores




                                                                                                                                                                                                                   AAMT
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                   Genus                 Species                                                 Spore Type             Indicator   Produced                 Type                   Combination with
                Trichoderma              species    soil, plant material,   clumps of green        BOTH                   YES          NO        T. viride is associated with     Aspergillus, Penicillium,
                                                     carpet, cellulose       spores in large                                                     aspergillosis. T. harzianum     Chaetomium, Acremonium,
                                                    materials (paper),         numbers                                                                is associated with               Stachybotrys
                                                      decaying wood                                                                                     hypersensitivity
                                                                                                                                                         pneumonitis

                Trichophyton             species    human and animal        rarely recovered         IN                     NO         NO         dermatophyte. Ringworm,              Microsporum,
                                                     scalp, skin, nails      in air samples                                                      infections of skin, scalp and        Epidermophyton
                                                                                                                                                             nails

                 Ulocladium              species    soil, grass, wood,      in small numbers        BOTH                   YES         NO                   NONE                  Aspergillus, Penicillium,
                                                           paper                 outside,                                                                                        Chaetomium, Acremonium,
                                                                             moderate inside                                                                                           Stachybotrys




               Uredinospores                          plant pathogen           variable in        OUTSIDE                   NO         NO                    NO                  seen at various times of the
                  (Rusts)                                                       numbers                                                                                             years outside with a
                                                                               produced                                                                                          combination of other outside
                                                                                                                                                                                           spores

                    Ustilago             species      plant pathogen                                BOTH                    NO         NO                    NO                        soil organisms




                  Verticillium           species                                                  OUTSIDE                   NO         NO                    NO




                                                                                                                                                                                                                         AAMT
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                             GLOSSARY

Actinomycetes                   Class of filamentous bacteria associated
                                with water damaged building materials.
                                Strong earthy odor is present. Some
                                genera are associated with skin and
                                respiratory infections.
                                refers to any species of the genera
Aspergillosis                   Aspergillus and Penicillium that can infect
                                the respiratory tract, sinuses, ear, eye,
                                skin, mucous membranes and multiple
                                systemic sites. The most common cause
                                of aspergillosis is Aspergillus fumigatus
                                and Aspergillus flavus
Ascomycetes (ascospores)        a class of fungi characterized by the
                                presence of asci and spores, and having
                                two distinct reproductive phases, a perfect
                                stage and an imperfect stage. Outside,
                                mainly found as plant pathogens.
Basidiomycetes                  the largest class of fungi the
(basidiospores)                 Basidiomycota has been divided into 2
                                classes, mushrooms, and the jelly, rust
                                and smut fungi). Major contributor to
                                wood rot.
Chromoblastomycosis             granulomatos inflammation with
                                supprative reaction, generally superficial
                                and/or subcutaneous.
Conidiophore                    also known as a “fruiting structure”.
                                Presence of a specialized hyphal structure
                                that serves as a stalk on which the conidia
                                are formed. Indicative of current fungal
                                growth.




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Dermatophyte                    a fungus belonging to the genus,
                                Trichophyton, Epidermophyton or
                                Microsporum, with the ability to obtain
                                nutrients from keratin and infect skin, hair,
                                or nails of humans or animals.
                                The Fungi imperfecti or imperfect fungi,
Deuteromycetes                  also known as Deuteromycota, are fungi
                                which do not fit into the commonly
                                established taxonomic classifications of
                                fungi that are based on biological species
                                concepts or morphological characteristics
                                of sexual structures because their sexual
                                form of reproduction has never been
                                observed; hence the name "imperfect
                                fungi."
ERMI Group 1                    set of fungal organisms that EPA
                                proposes are found in homes that may
                                have health risks due to high levels of
                                “water loving” fungi
Hyalohyphomycosis               saprophytic fungi that produce colorless
                                hyphae

Hyphae                          string-like structures that support the
                                spores of fungi. Also called mycelia or
                                mycelium

Keratitis                       inflammation of the cornea of the eye

Mycetoma                        a localized, chronic cutaneous or
                                subcutaneous infection classically
                                characterized by draining sinuses,
                                granules and swelling.

Mycosis                         disease caused by a fungus



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Myxomycetes (slime mold)        A class of peculiar organisms, the slime
                                molds, formerly regarded as animals
                                (Mycetozoa), but now generally thought to
                                be plants and often separated as a distinct
                                phylum (Myxophyta); essentially
                                equivalent to the division Myxomycota.
                                They are found on damp earth and
                                decaying vegetable matter, and consist of
                                naked masses of protoplasm, often of
                                considerable size, which creep very slowly
                                over the surface and ingest solid food.
Onychomycosis                   a fungal infection that affects the
                                fingernails or toenails

Phaeohyphomycosis               saprophytic fungi that produce dark brown
                                to black hyphae and infect the skin and
                                may also be subcutaneous.

Sporotrichosis                  Subcutaneous infection that may produce
                                ulcerations in the skin.
Sterile Mycelium                hyphae that have an absence of spores or
                                conidia

Subcutaneous                    situated or occurring directly under the
                                skin
Supprative                      producing puss
Uredinospores (Rusts)           are the thinner-walled spores of some
                                fungi: (rusts and smuts), from which the
                                basidium arises. Plant pathogens.
Xerophillic                     Prefers dry places, growing under dry
                                conditions
Zygomycosis                     infection caused by opportunistic fungi of
                                the zygomycete group (Rhizopus, Mucor,
                                Rhizomucor, Absidia, Sycephalastrum,
                                Cunninghamella)



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      Remediation Guidelines & Safety Precautions
All remediation generally follows these steps, the degree of which may vary
depending on the level of contamination.

•   Identify and eliminate any sources of water intrusion or high humidity.
•   Prevent the spread of mold spores with containment when appropriate.
•   Remove materials that cannot be cleaned.
•   Kill the mold with a fungicide. Capture spores in the air with filtration.
•   Remove remaining spores on hard surfaces by wiping.
•   Remove remaining spores on porous surfaces, such as drywall or wood
    framing, by vacuuming, exhausting the vacuum outside.
•   Seal any remaining spores on porous materials with an encapsulant.
•   Vacuum, clean or replace rugs, furniture, or carpeting.
•   Use personal protection appropriate to the level of contamination.
•   Use people safe fungicides and encapsulants.

Goggles and a mask with an N95 rating should be worn when working
around mold spores. Note that the mask will not protect the wearer from the
effects of any chemicals used in the remediation process.

According to the EPA, mold contamination of less than ten square feet can
be handled as normal maintenance. For contaminated areas between ten
and one hundred square feet, plastic sheeting should be used to minimize air
flow to other areas during remediation. For mold contamination in excess of
one hundred square feet, additional containment and personal protection is
recommended. You can find information regarding protection, containment
and other issues at http://www.epa.gov/iaq/molds/table2.htm.

Though chlorine and water are commonly used as a fungicide to clean mold,
it is not suggested for cleaning porous materials such as drywall, wooden
joists, or studs. Chlorine kills mold but does not do well in killing spores.
Chlorine evaporates faster than the water and the water left behind can
provide moisture for the remaining spores to begin to grow. Chlorine is a
strong oxidizer and can adversely affect the lungs of people exposed to the
fumes.

Chemicals used during remediation such as fungicides, encapsulation, and
moisture barriers should be investigated to assure that the residue or off-
gassing of the material will not cause respiratory distress in the occupants.
Consider contacting your Home Improvement or Janitorial Supply Store for
recommendations as to products and their use.
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Supply or return HVAC vents that service the area being remediated should
be taped over during remediation to prevent contaminating other areas of
the building. When remediating attics, basements, and crawlspaces that
contain HVAC systems or ductwork, all seams in the HVAC system should be
taped and any gaps where sheet metal spans joists as a cold air return or
where the ductwork enters occupied areas of the building should be sealed
to prevent air from the unoccupied areas from entering the occupied areas.

When using containment, a negative pressure should be created in the area
being remediated when compared to the rest of the building. This will cause
airflow from uncontaminated areas to go in the direction of the area being
remediated to limit contamination in the rest of the building.

Although exhausting air scrubbers to the outside to create negative pressure
is applicable in some circumstances, air scrubbers exhausted outside can
draw air from wall cavities and other places that can further contaminate the
work area. Instead of exhausting a large air scrubber outside, consider
placing a low-speed box type fan directed outward through a window in the
area being remediated that draws air from uncontaminated area to replace
the exhausted air. Make especially sure that access to crawlspaces, attics
and unfinished basements outside of the work area are sealed to prevent air
in areas not served by the HVAC system from being drawn into the work
area.

Make sure all causes of water intrusion or moisture damage are properly
repaired before remediation is initiated. Porous materials, such as drywall,
wood studs, plates, wood floors and other plywood surfaces should be
encapsulated after cleaning and prior to reconstruction to provide protection
against remaining embedded spores beginning to grow when conditions are
favorable.

Drywall or other materials with a light dusting of mold can be wiped with a
mild fungicide and vacuumed with a HEPA filter vacuum. Drywall or other
materials with obvious visible mold should be cleaned with a fungicide,
lightly sanded, vacuumed with a HEPA filter vacuum, and sealed with an
encapsulant.

Drywall or other materials with significant mold or water damage as a result
of being wetted from the opposite side or flooded should be removed to a
point approximately two feet beyond any visible mold or water damage.
Insulation that has been wetted or is adjacent to wetted and damaged
building materials should also be removed. Baseboards and other trim can
be removed to inspect behind the removed trim for mold and water damage.
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If removing drywall or other materials from ceilings, walls or floors exposes
the area being remediated to another area, both areas should be remediated
or provisions should be made to prevent air from the un-remediated area to
flow toward the area being remediated.

Surfaces behind any removed materials, such as the backside of an opposite
wall, wall studs, base plates, sub-flooring and joists, should also be wiped
with a mild fungicide and vacuumed with a HEPA filter vacuum, exhausting
the vacuum to the outside air. Surfaces with obvious visible mold or that are
slightly damaged should be vacuumed, lightly sanded, cleaned with a
fungicide and treated with an encapsulant. A surface with significant mold or
mold damage should be replaced.

For vacuuming spores and other particulate from the work surface, use a
vacuum cleaner with a HEPA filter. A vacuum cleaner without a HEPA filter
will not capture mold spores and respirable particulate. Even with a HEPA
filter, consider exhausting the vacuum outside of the building so that any
spores that do make it through the filter are not reintroduced into the
remediated area or disturb other spores until they have been vacuumed.
HEPA filters and exhaust extensions for shop type vacuums are available
through janitorial supply stores as well as many home improvement stores.

After treatment and encapsulation, operate the air scrubber for twenty-four
to forty-eight hours with the windows closed to remove any remaining
spores. Air scrubbers should be turned off at least twenty-fours prior to
taking clearance samples.
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                     Independent Estimates LLC
                     4 Mountain Creek Dr. S.E
                     Rome, Ga. 30161
                     706-346-9459
                     pascotthenderson@gmail.com

              Insured:     Prashant Kalavar
             Property:     8030 Prestwick Circle
                           Duluth, GA 30097


      Claim Number:                                Policy Number:                                  Type of Loss:

        Date of Loss:                                              Date Received:
       Date Inspected:                                              Date Entered:     1/26/2023 2:32 PM

            Price List:    GAAT8X_JAN23
                           Restoration/Service/Remodel
             Estimate:     PRASHANT_KALAVAR

    This is a evaluation of damage or estimate for repair of damage. This is only a estimate/evaluation and in no form a binding
    contract. This evaluation/estimate is priced through Xactimate. The prices in this estimate are a average according to the area and
    zip codes. Independent Estimates LLC. nor any affiliate guarantees these prices. Inflation of building materials and labor may
    vary from state to state. Thank you for the opportunity to estimate/evaluate the property listed.




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                                                           Independent Estimates LLC
                                                           4 Mountain Creek Dr. S.E
                                                           Rome, Ga. 30161
                                                           706-346-9459
                                                           pascotthenderson@gmail.com

                                                                                                     PRASHANT_KALAVAR
                                                                                                             Main Level


                                                       7' 1"
            Up




s2 (1)            Stairs1 (2)
                                                                                  Bathroom                                                                            Height: 8'
                                                       6' 9"
                              3' 4"
                                      3' 2"




                        Up
(A2)     Full (A5)   Stairs                                                                    253.33 SF Walls                                  61.31 SF Ceiling
                                      2' 4" 1' 6"




                                                                                               314.65 SF Walls & Ceiling                        61.31 SF Floor
                                                                          9' 7"
                                                                  9' 1"




                                                     Bathroom
                                                                                                 6.81 SY Flooring                               31.67 LF Floor Perimeter
                                                                                                31.67 LF Ceil. Perimeter
                                      2' 1"
                              2' 3"




    Bar
                                                    Wine Racks (A1)

                 Door                               Wine Cellar                                    2' 4" X 6' 8"                     Opens into BAR
                 DESCRIPTION                                                                 QTY          REMOVE          REPLACE            TAX            O&P            TOTAL

                 1. Interior door - Detach & reset - slab                                1.00 EA                   0.00      27.95            0.00           5.60            33.55
                 only
                 2. Floor protection - heavy paper and                                  42.00 SF                   0.00       0.52            0.18           4.40            26.42
                 tape
m
                 Protect tile floor
                 3. Heat/AC register - Mechanically                                      1.00 EA                   0.00      16.45            0.00           3.30            19.75
                 attached - Detach & reset
                 4. Custom shower door & partition -                                    47.25 SF                   0.00      12.64            0.00        119.44            716.68
                 frameless- Detach & reset
                 5. Toilet - Detach & reset                                              1.00 EA                   0.00     280.64            0.50         56.22            337.36
                 6. Light fixture - Detach & reset                                       1.00 EA                   0.00      66.42            0.00         13.28             79.70
                 7. Bathroom mirror - Detach & reset                                     1.00 SF                   0.00       9.26            0.00           1.86            11.12
                 8. Vanity top - Detach & reset                                          3.00 LF                   0.00      54.17            0.03         32.50            195.04
                 9. R&R Vanity - Premium grade                                           3.00 LF                   7.98     475.56           76.55        305.44           1,832.61
                 10. R&R Plumbing fixture supply line                                    3.00 EA                   5.31      22.47            1.23         16.90            101.47
                 11. P-trap assembly - Detach & reset                                    1.00 EA                   0.00      68.70            0.00         13.74             82.44
                 12. R&R Angle stop valve                                                3.00 EA                   5.31      38.42            1.29         26.50            158.98
                 13. R&R Shower light - waterproof                                       1.00 EA               11.83        209.99            5.83         45.52            273.17
                 fixture
                 14. R&R Crown molding - 2-piece                                        31.67 LF                   0.94      12.11            8.68         84.40            506.37
                 15. R&R Casing - 3 1/4"                                                17.00 LF                   0.54       3.71            2.46         14.96             89.67
                 Around door
                 16. R&R 5/8" drywall - hung, taped,                                    61.31 SF                   0.44       3.12            2.72         44.20            265.19
                 floated, ready for paint
                 17. Remove 1/2" drywall - hung,                                       244.33 SF                   0.44       0.00            0.00         21.50            129.01
                 taped, with smooth wall finish
                 18. 1/2" drywall - hung, taped, with                                  253.33 SF                   0.00       4.11           10.94        210.42           1,262.55
                 smooth wall finish


            PRASHANT_KALAVAR                                                                                                                          4/12/2023              Page: 2


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                        Independent Estimates LLC
                        4 Mountain Creek Dr. S.E
                        Rome, Ga. 30161
                        706-346-9459
                        pascotthenderson@gmail.com

                                                         CONTINUED - Bathroom

     DESCRIPTION                                   QTY      REMOVE      REPLACE      TAX          O&P            TOTAL

     19. R&R Batt insulation - 4" - R13 -    126.67 SF           0.26        0.98     5.17        32.44           194.68
     paper / foil faced
     Exterior wall insulation
     20. Baseboard - 8" paint grade - 2       18.92 LF           0.00        8.56     4.16        33.24           199.36
     piece
     Deducted shower
     21. Quarter round - 3/4"                 18.92 LF           0.00        2.10     1.11         8.16            49.00
     Deducted shower
     22. R&R Switch                            3.00 EA           5.35       19.41     0.39        14.94            89.61
     Switches got wet
     23. Tub/shower faucet - Detach &          1.00 EA           0.00      238.95     0.00        47.80           286.75
     reset
     24. R&R Tile shower - 121 to 150 SF -     1.00 EA         249.04    3,613.09    90.96       790.62          4,743.71
     High grade
     Estimated footage of floor and walls
     25. R&R Mortar bed for tile floors       20.25 SF           1.44        5.07     2.47        26.88           161.18
     26. Add-on for diagonal tile            102.00 SF           0.00        1.69     0.00        34.48           206.86
     installation
     27. R&R Glass tile                       11.11 SF           1.90       25.62    10.47        63.24           379.46
     28. R&R Tile framed shower curb -         6.75 LF           9.96      109.21     9.32       162.74           976.46
     per LF
     29. R&R 1/2" Cement board               102.00 SF           0.87        4.94     9.73       120.46           722.81
     30. Paint the walls and ceiling - two   314.65 SF           0.00        1.15     5.10        73.40           440.35
     coats
     31. Paint baseboard, oversized - two     18.92 LF           0.00        1.84     0.25         7.02            42.08
     coats
     32. Paint door/window trim & jamb - 2     1.00 EA           0.00       37.28     0.32         7.52            45.12
     coats (per side)
     33. Seal & paint base shoe or quarter    31.67 LF           0.00        0.95     0.23         6.06            36.38
     round
     34. Paint crown molding, oversized -     31.67 LF           0.00        1.88     0.36        11.98            71.88
     two coats
     35. Tile/stone sealer                   163.31 SF           0.00        1.04     3.23        34.60           207.67
     36. Final cleaning - construction -      61.31 SF           0.00        0.31     0.00         3.80            22.81
     Residential

     Totals: Bathroom                                                               253.68      2,499.56     14,997.25




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                                               Independent Estimates LLC
  Up




            Stairs1 (2)                        4 Mountain Creek Dr. S.E
                 Up                            Rome, Ga. 30161
Full (A5)     Stairs                           706-346-9459
                                               pascotthenderson@gmail.com
                                      Bathroom




                                                                 Wine Cellar                                                                         Height: 8'
                                        6' 9"
                                                                                166.67 SF Walls                                24.75 SF Ceiling
                               10"
                       1'




                                      Wine Racks (A1)
                                                                                191.42 SF Walls & Ceiling                      24.75 SF Floor
                                                    3' 8"
                               2'




                                                            4'




                                     Wine Cellar
                                                                                  2.75 SY Flooring                             20.83 LF Floor Perimeter
                               10"
                       1' 2"




                                       7' 1"
                                                                                 20.83 LF Ceil. Perimeter


               Door                                                                2' X 6' 8"                       Opens into BAR
               DESCRIPTION                                                     QTY        REMOVE       REPLACE              TAX            O&P            TOTAL

               37. Custom shower door & partition -                     29.33 SF                0.00        12.64            0.00         74.14            444.87
               frameless- Detach & reset
               Frameless galls door and partition used for wine cellar
               38. Cabinetry - full height unit -                       11.67 LF                0.00        84.92            0.00        198.20           1,189.22
               Detach & reset
               Used to detach and reset full hight win cabinet
               39. Remove Baseboard - 8" paint                          13.16 LF                0.63         0.00            0.00           1.66             9.95
               grade - 2 piece
               40. Baseboard - 8" paint grade - 2                       20.83 LF                0.00         8.56            4.57         36.58            219.45
               piece
               41. Quarter round - 3/4" - stain grade                   20.83 LF                0.00         2.37            1.56         10.20             61.13
               42. Stain & finish base shoe or quarter                  20.83 LF                0.00         1.51            0.29           6.36            38.10
               round
               43. Batt insulation replacement per LF -                  3.67 LF                0.00         2.66            0.37           2.04            12.17
               4" - up to 2' tall
               44. 1/2" - drywall per LF - up to 2' tall                 3.67 LF                0.00        12.19            0.35           9.02            54.11
               45. Paint the walls and ceiling - two                   191.42 SF                0.00         1.15            3.10         44.64            267.87
               coats
               46. Paint door/window trim & jamb - 2                     1.00 EA                0.00        37.28            0.32           7.52            45.12
               coats (per side)
               Opening ios painted
               47. Paint baseboard, oversized - two                     20.83 LF                0.00         1.84            0.27           7.72            46.32
               coats
               48. Snaplock Laminate - per specs                        24.75 SF                0.00         6.35            6.19         32.68            196.03
               from independent analysis
               49. Apply plant-based anti-microbial                     24.75 SF                0.00         0.29            0.07           1.46             8.71
               agent to the floor
               50. Final cleaning - construction -                      24.75 SF                0.00         0.31            0.00           1.54             9.21
               Residential

               Totals: Wine Cellar                                                                                          17.09         433.76          2,602.26




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                                     Independent Estimates LLC
                                     4 Mountain Creek Dr. S.E
                                     Rome, Ga. 30161
                                     706-346-9459
                                     pascotthenderson@gmail.com
                           Under stairs
                                          Up

              Playroom
                               Stairs2 Stairs1
                                        (1)     (2)
                                    Full
                             Base cab    (A5)
                                      (A2)   Up
                                          Stairs
    Theater                    DW




                      Mechanical              Bathroom
                            Cab (A4)
                                     Bar Wine Racks (A1)     Living Room                                                                         Height: Tray
               Hallway
                5' 10" 6' 3" Bar (A1)       Wine 6' Cellar
                                                    9"
                                3"




                     1' 2" 7'      13' 9"        7' 1"                       678.36 SF Walls                                595.14 SF Ceiling
                                                  14' 9"
                                                  15' 3"
                 2' 6"




    Bedroom                Living Room                                     1,273.50 SF Walls & Ceiling                      557.21 SF Floor
                                       9' 7"
               2' 9" 3' 8" 3' 3"   2' 11"     2' 8"                           61.91 SY Flooring                              83.82 LF Floor Perimeter
              2' 11" 3' 6" 2' 8"   2' 10"        2' 5"
                           7"          9' 6" 9' 1"                            89.66 LF Ceil. Perimeter
                           3' 4"


       Window                                                                 2' 8" X 5'                         Opens into Exterior
       Window                                                                 2' 8" X 5'                         Opens into Exterior
       Window                                                                 2' 8" X 5'                         Opens into Exterior
       Window                                                                 2' 8" X 5'                         Opens into Exterior
       Door                                                                   2' 6" X 6' 8"                      Opens into Exterior
       Window                                                                 2' 8" X 5'                         Opens into Exterior
       Window                                                                 2' 8" X 5'                         Opens into Exterior
       Missing Wall                                                           13' 9 1/8" X 8'                    Opens into BAR
       Missing Wall                                                           3" X 8'                            Opens into BAR
       Missing Wall - Goes to Floor                                           5' 10" X 6' 8"                     Opens into HALLWAY
       Door                                                                   2' 6" X 6' 8"                      Opens into BEDROOM
       DESCRIPTION                                                         QTY       REMOVE          REPLACE              TAX            O&P            TOTAL

       51. Window drapery - hardware -                              5.00 EA                   0.00       34.12             0.00          34.12           204.72
       Detach & reset
       52. Heat/AC register - Mechanically                          1.00 EA                   0.00       16.45             0.00           3.30            19.75
       attached - Detach & reset
       Wall grill
       53. Light fixture - Detach & reset                           4.00 EA                   0.00       66.42             0.00          53.14           318.82
       Wall sconce
       54. Batt insulation replacement per LF -                    46.74 LF                   0.00        2.66             4.77          25.82           154.92
       4" - up to 2' tall
       55. Remove 1/2" - drywall per LF - up                        7.08 LF                   2.38        0.00             0.00           3.38            20.23
       to 2' tall
       Additional drywall to be removed at fireplace area
       56. 1/2" - drywall per LF - up to 2' tall                   53.82 LF                   0.00       12.19             5.07         132.24           793.38
       57. Casing - 3 1/4"                                         64.00 LF                   0.00        3.71             9.25          49.34           296.03
       58. R&R Window stool & apron                                18.00 LF                   0.81        9.34             4.43          37.42           224.55
       Must be removed to repair drywall
       59. Baseboard - 8" paint grade - 2                          83.82 LF                   0.00        8.56            18.41         147.18           883.09
       piece
       60. Quarter round - 3/4"                                    83.82 LF                   0.00        2.10             4.93          36.18           217.13
       61. Paint the walls - two coats                            678.36 SF                   0.00        1.15            10.99         158.22           949.32


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                                                 Independent Estimates LLC
                                                 4 Mountain Creek Dr. S.E
                                                 Rome, Ga. 30161
                                                 706-346-9459
                                                 pascotthenderson@gmail.com

                                                                                                                  CONTINUED - Living Room

          DESCRIPTION                                                                                      QTY          REMOVE          REPLACE            TAX            O&P            TOTAL

          62. Paint door/window trim & jamb - 2                                                        7.00 EA                   0.00      37.28            2.26          52.66           315.88
          coats (per side)
          63. Paint door/window trim & jamb -                                                          2.00 EA                   0.00      43.87            0.76          17.70           106.20
          Large - 2 coats (per side)
          64. Seal & paint window stool and                                                           18.00 LF                   0.00       4.73            0.43          17.10           102.67
          apron
          65. Seal & paint base shoe or quarter                                                       83.82 LF                   0.00       0.95            0.60          16.04            96.27
          round
          66. Apply plant-based anti-microbial                                                       557.21 SF                   0.00       0.29            1.67          32.66           195.92
          agent to the floor
          67. Snaplock Laminate - per specs                                                          557.21 SF                   0.00       6.35          139.41         735.54          4,413.23
          from independent analysis
          68. Final cleaning - construction -                                                        557.21 SF                   0.00       0.31            0.00          34.54           207.28
          Residential

          Totals: Living Room                                                                                                                             202.98       1,586.58          9,519.39
                       Under stairs
                                                 Up




                            Stairs2 (1)      Stairs1 (2)
                                10'
                                                   Up                                          Bar                                                                                  Height: 8'
                                                  1' 3"




                         Base cab (A2)Full (A5) Stairs
                                                3' 8"
                        DW
                                                                                        Bathroom             249.67 SF Walls                                 148.64 SF Ceiling
                                                                     10" 2' 10" 2' 1" 2' 4"




    Mechanical
             10' 11"




                 Cab (A4)
                                                                                                             398.31 SF Walls & Ceiling                       148.64 SF Floor
                       11' 1"




                                                          1' 2' 3"




                                         Bar
                                                                        Wine Racks (A1)
                                                                                                              16.52 SY Flooring                               31.21 LF Floor Perimeter
                             Bar (A1)
                                                                        Wine Cellar                           31.21 LF Ceil. Perimeter
                                                          1' 2"
                       3"




                                        13' 9"


          Door                                                                                                   2' 4" X 6' 8"                     Opens into BATHROOM
          Door                                                                                                   2' X 6' 8"                        Opens into WINE_CELLAR
                       Living Room
          Missing Wall                                                                                           13' 9 1/8" X 8'                   Opens into LIVING_ROOM
          Missing Wall                                                                                           3" X 8'                           Opens into LIVING_ROOM
          Missing Wall                                                                                           1' 3" X 8'                        Opens into STAIRS
          Missing Wall                                                                                           3' 7 5/8" X 8'                    Opens into STAIRS
          DESCRIPTION                                                                                      QTY          REMOVE          REPLACE            TAX            O&P            TOTAL

          69. Refrigerator - Remove & reset                                                            1.00 EA                   0.00      46.17            0.00           9.24            55.41
          70. Dishwasher - Detach & reset                                                              1.00 EA                   0.00     268.69            0.00          53.74           322.43
          71. Stain & finish toe-kick                                                                 19.58 LF                   0.00       1.84            0.26           7.26            43.55
          72. Toe kick - unfinished wood - 1/2"                                                       19.58 LF                   0.00       9.78            4.16          39.14           234.79
          73. Baseboard - 8" paint grade - 2                                                           8.00 LF                   0.00       8.56            1.76          14.06            84.30
          piece
          Approximately 8 ft to replace due to cabinets along walls


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                                  Independent Estimates LLC
                                  4 Mountain Creek Dr. S.E
                                  Rome, Ga. 30161
                                  706-346-9459
                                  pascotthenderson@gmail.com

                                                                              CONTINUED - Bar

           DESCRIPTION                                             QTY          REMOVE             REPLACE             TAX               O&P            TOTAL

           74. Paint baseboard, oversized - two                8.00 LF                0.00             1.84            0.11              2.96             17.79
           coats
           75. Quarter round - 3/4"                            8.00 LF                0.00             2.10            0.47              3.46             20.73
           76. Seal & paint base shoe or quarter               8.00 LF                0.00             0.95            0.06              1.54              9.20
           round
           77. Paint door/window trim & jamb - 2               2.00 EA                0.00            37.28            0.65             15.06             90.27
           coats (per side)
           78. Paint the surface area - two coats             56.00 SF                0.00             1.15            0.91             13.06             78.37
           Area of drywall exposed
           79. Trim board - 1" x 8" - installed               14.08 LF                0.00            10.76            6.88             31.68            190.06
           (hardwood - oak or =)
           80. Stain & finish trim                            14.08 LF                0.00             1.85            0.19              5.26             31.50
           81. Apply plant-based anti-microbial              148.64 SF                0.00             0.29            0.45              8.72             52.28
           agent to the floor
           82. Snaplock Laminate - per specs                 148.64 SF                0.00             6.35           37.19            196.22           1,177.27
           from independent analysis
           83. Final cleaning - construction -               148.64 SF                0.00             0.31            0.00              9.22             55.30
           Residential

           Totals: Bar                                                                                                53.09            410.62           2,463.25
       Up




                      Stairs1 (2)                   Stairs                                                                                       Height: 16' 2"

                         3' 8"                                           21.96 SF Walls                                       5.15 SF Ceiling
                            Up
                                                                         27.11 SF Walls & Ceiling                             9.85 SF Floor
                                            1' 5"
              1' 3"




     Full (A5)           Stairs
                                                                          1.09 SY Flooring                                    1.55 LF Floor Perimeter
                                                                          1.42 LF Ceil. Perimeter

                                                      Bathroom
           Missing Wall                                                  3' 7 5/8" X 16' 1 9/16"              Opens into BAR
           Missing Wall                                                  1' 3" X 16' 1 9/16"                  Opens into BAR


                           4'                       Subroom: Stairs1 (2)                                                                        Height: 14' 11"
                                            1' 5"




ar                                                                101.20 SF Walls                                        11.51 SF Ceiling
                         3' 8"
      Up




                                                                  112.71 SF Walls & Ceiling
                                                      Wine Racks (A1)                                                    11.51 SF Floor
                                    3' 2"
             3'




                      Stairs1 (2)                                    1.28 SY Flooring                                     6.80 LF Floor Perimeter
                                            1' 9"




                                                     Wine Cellar     6.80 LF Ceil. Perimeter
                            Up
     Full (A5)      Stairs
           Missing Wall                                                  3' 7 5/8" X 14' 10 9/16"             Opens into STAIRS
          Missing Wall                                                   3' X 14' 10 9/16"                    Opens into STAIRS2
        PRASHANT_KALAVAR                                                                                                       4/12/2023                  Page: 7
                                                       Bathroom


                                                                                                                                                  P.7
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                                                          Independent Estimates LLC
                                                          4 Mountain Creek Dr. S.E
                                                          Rome, Ga. 30161
                                                          706-346-9459
                                                          pascotthenderson@gmail.com

                                                                                                                                   CONTINUED - Stairs


                                  Under stairs                                               Subroom: Stairs2 (1)                                                                               Height: 14' 11"
                                                  10' 2"                                                             243.75 SF Walls                                        29.88 SF Ceiling
                                                    10'                                                              273.63 SF Walls & Ceiling                              53.76 SF Floor
                                                                     Up
                 3' 2"




                                                                             3'




                                                Stairs2 (1)                       Stairs1 (2)
                                                                                       Up
                                                                                                                       5.97 SY Flooring                                     27.21 LF Floor Perimeter
                                        Base cab (A2)             Full (A5)         Stairs                            22.92 LF Ceil. Perimeter
                            DW                                                                     Bathroom
    Mechanical
            Missing   Wall
                Cab (A4)                                                                                                  3' X 14' 10 9/16"                     Opens into STAIRS1
            DESCRIPTION                                     Bar                                                  QTY                  REMOVE         REPLACE             TAX            O&P             TOTAL
                                                                                                   Wine Racks (A1)
            84. R&R Stair riser - up to 4'                                                             1.00 EA
                                                                                                  Wine Cellar                                 3.62      24.93             0.58           5.82             34.95
                                            Bar (A1)
            85. R&R Stair tread - hardwood - up to                                                        1.00 EA                             9.96      92.92             3.56          21.30            127.74
            4'
            86. R&R Stair Skirt/Apron - wall side -                                                       2.00 LF                             2.49      20.49             0.39           9.28             55.63
            paint grade
            87. Base cap                                                                                  2.00 LF                             0.00       2.06             0.11           0.84              5.07
            88. Paint stair skirt/apron                                                                  35.56 LF                             0.00       6.94             0.73          49.50            297.02
                                  Living Room
            89. Seal & paint stair riser - per side -                                                    46.67 LF                             0.00       4.23             1.76          39.84            239.01
            per LF
            90. Stain & finish stair tread - per side -                                                  50.00 LF                             0.00       7.34             2.55          73.92            443.47
            per LF
            91. Painter - per hour                                                                       15.00 HR                             0.00      81.70             0.00         245.10           1,470.60
            To sand all remaining stain grade treads for new stain to be applied. 1 hour per tread
            92. Paint the walls and ceiling - two                                                    413.45 SF                                0.00       1.15             6.70          96.44            578.61
            coats
                                                                                                  Under stairs
            93. Final cleaning - construction -                                                          75.12 SF                             0.00       0.31             0.00           4.66             27.95
            Residential              Playroom
                                                                                                                     Up




                                                                                                         Stairs2 (1) Stairs1 (2)
                                                                                                             Full (A5)
                                                                                                   Base cab (A2)       Up
                                                                                                                    Stairs
            Totals: Stairs                                                                                                                                               16.38         546.70           3,280.05
                                               Theater                                              DW
                                                                                                                                   Bathroom
                                                                                         Mechanical
                                                                                                 Cab (A4)
                                                                                                               Bar
                                                                                                                              Wine Racks (A1)
                                                                        Hallway                                               Wine Cellar
                                                12' 3"                                              Bar (A1)
                                                                                             Bedroom                                                                                              Height: Tray
                                                                     6' 6"




                                                                                                                     438.67 SF Walls                                       203.53 SF Ceiling
                                   15' 2"
                         15' 8"




                                                                                                                     642.20 SF Walls & Ceiling                             185.79 SF Floor
                                                                     2' 6"




                                              Bedroom                                             Living Room
                                                                                                                      20.64 SY Flooring                                     54.83 LF Floor Perimeter
                                                                     6' 2"




                                    5' 10"        6' 5"
                                  3' 2" 2' 8" 2' 8" 3' 9"
                                                                                                                      54.83 LF Ceil. Perimeter
                                  3' 6"                    3' 11"
                                     6' 2"               6' 7"
            Window                                                                                                        2' 8" X 5'                            Opens into Exterior
            Window                                                                                                        2' 8" X 5'                            Opens into Exterior
            Door                                                                                                          2' 6" X 6' 8"                         Opens into LIVING_ROOM

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                         Independent Estimates LLC
                         4 Mountain Creek Dr. S.E
                         Rome, Ga. 30161
                         706-346-9459
                         pascotthenderson@gmail.com

                                                             CONTINUED - Bedroom

     DESCRIPTION                                       QTY      REMOVE     REPLACE         TAX          O&P           TOTAL

     94. Interior door - Detach & reset -          1.00 EA          0.00       27.95        0.00         5.60           33.55
     slab only
     95. Window drapery - hardware -               1.00 EA          0.00       34.12        0.00         6.82           40.94
     Detach & reset
     96. 1/2" - drywall per LF - up to 4' tall    27.42 LF          0.00       17.50        4.79        96.94          581.58
     97. Batt insulation replacement per LF -     27.42 LF          0.00           2.66     2.80        15.14           90.88
     4" - up to 2' tall
     98. R&R Casing - 3 1/4"                      10.00 LF          0.54           3.71     1.45         8.80           52.75
     To repair drywall
     99. R&R Window stool & apron                  6.00 LF          0.81           9.34     1.48        12.48           74.86
     100. Baseboard - 8" paint grade - 2          54.83 LF          0.00           8.56    12.04        96.26          577.64
     piece
     101. Paint the walls - two coats            438.67 SF          0.00           1.15     7.11       102.32          613.90
     102. Paint baseboard, oversized - two        54.83 LF          0.00           1.84     0.72        20.32          121.93
     coats
     103. Paint door/window trim & jamb -          1.00 EA          0.00       37.28        0.32         7.52           45.12
     2 coats (per side)
     104. Paint door/window trim & jamb -          1.00 EA          0.00       43.87        0.38         8.86           53.11
     Large - 2 coats (per side)
     105. Seal & paint window stool and            6.00 LF          0.00           4.73     0.14         5.70           34.22
     apron
     106. Carpet pad - High grade                185.79 SF          0.00           0.82     7.91        32.06          192.32
     8lb pad estimated for concrete floor
     107. Remove Carpet - per specs from         185.79 SF          0.29           0.00     0.00        10.78           64.66
     independent carpet analysis
     108. Carpet - per specs from                213.66 SF          0.00           6.17    69.61       277.58         1,665.47
     independent carpet analysis
     15% added for waste
     109. Additional labor cost for Berber       185.79 SF          0.00           0.21     0.00         7.80           46.82
     or patterned carpets
     110. Final cleaning - construction -        185.79 SF          0.00           0.31     0.00        11.52           69.11
     Residential

     Totals: Bedroom                                                                      108.75       726.50         4,358.86




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                                                              Independent Estimates
                                                                                 UnderLLC
                                                                                      stairs



                                               Playroom
                                                              4 Mountain Creek Dr. S.E
                                                              Rome, Ga. 30161




                                                                                                                                                Up
                                                              706-346-9459               Stairs2 (1)                                                      Stairs1 (2)
                                                              pascotthenderson@gmail.com                                                                       Up
                                                                                                                              Base cab (A2)   Full (A5)     Stairs


Theater                                                                                                                DW                                                Bathroom
                                                                                                     Mechanical
                                                                                                           HallwayCab (A4)                                                                                         Height: 7' 7"
                         2' 7"                        2' 6"              2' 6"                                                     131.74BarSF Walls                                           27.81 SF Ceiling
                 10"

                       8"




                                                                                                                                   159.54 SF Walls & Ceiling Wine Racks (A1)                   27.81 SF Floor
                                                                                            3' 10"
                                                                                    3' 8"
                       6" 2' 6"




                                                 Hallway
                                                                                                                              Bar (A1)
                                                                                                                                       3.09 SY Flooring      Wine Cellar                       16.67 LF Floor Perimeter
                                                      5' 10"                       11"
                                                                                                                                    22.50 LF Ceil. Perimeter
                                                                               1' 2"



           Door                                                                                                                      2' 6" X 6' 8"                                   Opens into PLAYROOM
           Door                                                                                                                      2' 6" X 6' 8"                                   Opens into THEATER
           Missing Wall - Goes to Floor                                                                                              5' 10" X 6' 8"                                  Opens into LIVING_ROOM
edroom
                                                                                                                        Living Room
           DESCRIPTION                                                                                                         QTY            REMOVE                    REPLACE              TAX           O&P            TOTAL

           111. Baseboard - 8" paint grade - 2                                                                       16.67 LF                             0.00                8.56           3.66          29.28           175.64
           piece
           112. Quarter round - 3/4"                                                                                 16.67 LF                             0.00                2.10           0.98           7.20            43.19
           113. Paint the walls - two coats                                                                         131.74 SF                             0.00                1.15           2.13          30.72           184.35
           114. Paint baseboard, oversized - two                                                                     16.67 LF                             0.00                1.84           0.22           6.18            37.07
           coats
           115. Paint door/window trim & jamb -                                                                        2.00 EA                            0.00              37.28            0.65          15.06            90.27
           2 coats (per side)
           116. Paint door/window trim & jamb -                                                                        1.00 EA                            0.00              43.87            0.38           8.86            53.11
           Large - 2 coats (per side)
           117. Apply plant-based anti-microbial                                                                     27.81 SF                             0.00                0.29           0.08           1.64             9.78
           agent to the floor
           118. Snaplock Laminate - per specs                                                                        27.81 SF                             0.00                6.35           6.96          36.72           220.27
           from independent analysis
           119. Final cleaning - construction -                                                                      27.81 SF                             0.00                0.31           0.00           1.72            10.34
           Residential

           Totals: Hallway                                                                                                                                                                  15.06         137.38           824.02


                                                                         Under stairs
                                                       7'
                                                                                                           Mechanical                                                                                                 Height: 9'
                                  4"




              Playroom
                                             2"




                                                                                                      Up
                                                               3' 2"
                                                                          3'




                                                                                   Stairs2 (1)
                                                                                           Stairs1 (2)
                                             6' 8"
                                  6' 6"




                                                                                                 Up
                                                                                     Full (A5)Stairs
                                                                          Base cab (A2)                                          366.56 SF Walls                                               88.13 SF Ceiling
Theater
                                             Mechanical
                                                                          DW
                                                                                                                   Bathroom      454.69 SF Walls & Ceiling                                     88.13 SF Floor
                                                               10' 11"
                                             2' 6"




                                                                          11' 1"




                                                      Cab (A4)
                                                                                                                                   9.79 SY Flooring                                            40.73 LF Floor Perimeter
                                  3' 8" 9"




                                                                                               Bar
                                             3' 10"




                                                                                                                  Wine Racks (A1) 40.73 LF Ceil. Perimeter
              Hallway                                                                                             Wine Cellar
                                                      6' 3"                 Bar (A1)
                                                       7'

           Door                                                                                                                      2' 6" X 6' 8"                                   Opens into PLAYROOM
Bedroom    DESCRIPTION                                               Living Room                                               QTY            REMOVE                    REPLACE              TAX           O&P            TOTAL

           120. Batt insulation replacement per                                                                      40.73 LF                             0.00                2.66           4.15          22.50           134.99
           LF - 4" - up to 2' tall

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                                                         Independent Estimates LLC
                                                         4 Mountain Creek Dr. S.E
                                                         Rome, Ga. 30161
                                                         706-346-9459
                                                         pascotthenderson@gmail.com

                                                                                                                                   CONTINUED - Mechanical

       DESCRIPTION                                                                                                       QTY           REMOVE          REPLACE              TAX            O&P            TOTAL
       Totals: Mechanical                                                                                                                                                    4.15          22.50           134.99




                                                                                                         Under stairs                                                                              Height: Sloped
                                             10' 1"                                                                            138.65 SF Walls                                 35.50 SF Ceiling
            6"
                  2" 2' 8" 2"




                                        9' 5"
                                                                                                                               174.15 SF Walls & Ceiling                       28.25 SF Floor
                                                                                           3' 8"
                                                                                  3'




                                     Under stairs
                                                                                                                                 3.14 SY Flooring                              24.83 LF Floor Perimeter
            6"




                                                                                                                                29.67 LF Ceil. Perimeter
                                                                                           Up




                                                     Stairs2 (1)                                   Stairs1 (2)
                                                 Up
       Missing WallBase- Goes
                         cab (A2)
                                  toFull
                                     Floor
                                         (A5) Stairs                                                                            2' 8" X 6' 8"                      Opens into Exterior
       DESCRIPTION
              DW                                                                                                         QTY
                                                                                                                  Bathroom             REMOVE          REPLACE              TAX            O&P            TOTAL
     Mechanical
       121. 1/2"Cab
                 - drywall
                    (A4)   per LF - up to 4'                                                                     21.83 LF                       0.00       17.50             3.81          77.16           463.00
       tall
                                                                                Bar
       122. Batt insulation replacement per                                                                      21.83  LF
                                                                                                                 Wine Racks (A1)
                                                                                                                                                0.00        2.66             2.23          12.06            72.36
       LF - 4" - up to 2' tall
                                                                                                                 Wine Cellar
                     Bar (A1)
       123. Final cleaning   - construction -                                                                    28.25 SF                       0.00        0.31             0.00           1.76            10.52
       Residential

       Totals: Under stairs                                                                                                                                                  6.04          90.98           545.88



                                     Living
                                       6' 11"Room
                                             6' 3"
                                                                                                         Playroom                                                                                      Height: 8'
                                  8' 3"
                                            8' 3"


                                                               11' 1"
                                                     11' 1"




                                  7"                                            Under stairs
                                                                                                                               454.67 SF Walls                                144.84 SF Ceiling
                                    7"Playroom5"                                                                               599.51 SF Walls & Ceiling                      144.84 SF Floor
                                                                                                    Up




                                                         Stairs2 (1)
                                                                  Stairs1 (2)
                                          12' 7"
                                12' 7"




                                                                  2' 6" 6' 8"
                                                       6' 6"




                                                     Base cabFull
                                                                (A2)(A5)Up
                                                                     Stairs                                                     16.09 SY Flooring                              56.83 LF Floor Perimeter
            Theater                                                        Bathroom   DW




                                              Mechanical
                                                   Cab (A4)                                                                     56.83 LF Ceil. Perimeter
                                    2' 7" 2' 6"
                                                               Bar
                                                                        Wine Racks (A1)
                                      Hallway                            Wine Cellar
                                                       Bar (A1)

       Door                                                                                                                     2' 6" X 6' 8"                      Opens into HALLWAY
       Door
         Bedroom                                                                Living Room                                     2' 6" X 6' 8"                      Opens into MECHANICAL
       DESCRIPTION                                                                                                       QTY           REMOVE          REPLACE              TAX            O&P            TOTAL

       124. Interior door - Detach & reset -                                                                      1.00 EA                       0.00       27.95             0.00           5.60            33.55
       slab only
       125. Batt insulation replacement per                                                                       6.33 LF                       0.00        2.66             0.65           3.50            20.99
       LF - 4" - up to 2' tall
       126. 1/2" - drywall per LF - up to 2'                                                                     17.50 LF                       0.00       12.19             1.65          43.00           257.98
       tall
       127. Baseboard - 8" paint grade - 2                                                                       56.83 LF                       0.00        8.56            12.48          99.80           598.74
       piece

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                                          Independent Estimates LLC
                                          4 Mountain Creek Dr. S.E
                                          Rome, Ga. 30161
                                          706-346-9459
                                          pascotthenderson@gmail.com

                                                                                                    CONTINUED - Playroom

      DESCRIPTION                                                                          QTY            REMOVE           REPLACE             TAX            O&P            TOTAL

      128. Paint the walls - two coats                                        454.67 SF                             0.00         1.15           7.37         106.06           636.30
      129. Paint baseboard, oversized - two                                        56.83 LF                         0.00         1.84           0.75          21.08           126.40
      coats
      130. Paint door/window trim & jamb -                                          2.00 EA                         0.00        37.28           0.65          15.06            90.27
      2 coats (per side)
      131. Carpet pad - High grade                                            144.84 SF                             0.00         0.82           6.17          25.00           149.94
      8lb pad estimated for concrete floor
      132. Remove Carpet - per specs from                                     144.84 SF                             0.29         0.00           0.00           8.40            50.40
      independent carpet analysis
      133. Carpet - per specs from                                            166.57 SF                             0.00         6.17          54.27         216.40          1,298.41
      independent carpet analysis
      15% added for waste
      134. Additional labor cost for Berber                                   144.84 SF                             0.00         0.21           0.00           6.08            36.50
      or patterned carpets
      135. Final cleaning - construction -                                    144.84 SF                             0.00         0.31           0.00           8.98            53.88
      Residential

      Totals: Playroom                                                                                                                         83.99         558.96          3,353.36



                                12' 7"                                      Under stairs
                                                                    Theater                                                                                           Height: Tray
                                                       Playroom
                                                                                             Up




                                                                                              458.67 SF Walls
                                                                                Stairs2 (1) Stairs1 (2)                                          219.88 SF Ceiling
                                                     12' 7"
                                            12' 7"




                                                                                        Full (A5)
                                                                             Base cab (A2)        Up
                                                                                               Stairs
             16' 11"




                                                                                              678.55 Bathroom
                                                                                                      SF Walls & Ceiling                         201.10 SF Floor
                       16' 5"




                                Theater                                       DW


                                                                   Mechanical
                                                                           Cab (A4)            22.34 SY Flooring                                  57.33 LF Floor Perimeter
                                            10"




                                                                                          Bar
                                                                                               57.33WineLF  Ceil.
                                                                                                         Racks (A1) Perimeter
                                                     2' 6"




                                                         Hallway                                      Wine Cellar
                                12' 3"                                         Bar (A1)


      Door                                                                                        2' 6" X 6' 8"                         Opens into HALLWAY
      DESCRIPTION
              Bedroom                                                       Living Room QTY               REMOVE           REPLACE             TAX            O&P            TOTAL

      136. Interior door - Detach & reset -                                         1.00 EA                         0.00        27.95           0.00           5.60            33.55
      slab only
      137. Light fixture - Detach & reset                                           4.00 EA                         0.00        66.42           0.00          53.14           318.82
      138. In-wall / In-ceiling speaker -                                           4.00 EA                         0.00        24.07           0.00          19.26           115.54
      Detach & reset
      139. 1/2" - drywall per LF - up to 4'                                        28.67 LF                         0.00        17.50           5.01         101.34           608.08
      tall
      140. Batt insulation replacement per                                         28.67 LF                         0.00         2.66           2.92          15.84            95.02
      LF - 4" - up to 2' tall
      141. Drywall patch / small repair,                                            7.00 EA                         0.00        97.06           1.70         136.22           817.34
      ready for paint
      142. Baseboard - 8" paint grade - 2                                          57.33 LF                         0.00         8.56          12.59         100.66           603.99
      piece
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                          Independent Estimates LLC
                          4 Mountain Creek Dr. S.E
                          Rome, Ga. 30161
                          706-346-9459
                          pascotthenderson@gmail.com

                                                          CONTINUED - Theater

      DESCRIPTION                                   QTY     REMOVE          REPLACE       TAX          O&P            TOTAL

      143. Paint the walls - two coats        458.67 SF          0.00             1.15     7.43       106.98           641.88
      144. Paint baseboard, oversized - two    57.33 LF          0.00             1.84     0.76        21.26           127.51
      coats
      145. Paint door/window trim & jamb -      1.00 EA          0.00            37.28     0.32         7.52            45.12
      2 coats (per side)
      146. Carpet pad - High grade            201.10 SF          0.00             0.82     8.57        34.70           208.17
      8lb pad estimated for concrete floor
      147. Remove Carpet - per specs from     201.10 SF          0.29             0.00     0.00        11.66            69.98
      independent carpet analysis
      148. Carpet - per specs from            231.27 SF          0.00             6.17    75.35       300.46          1,802.75
      independent carpet analysis
      15% added for waste
      149. Additional labor cost for Berber   201.10 SF          0.00             0.21     0.00         8.44            50.67
      or patterned carpets
      150. Final cleaning - construction -    201.10 SF          0.00             0.31     0.00        12.46            74.80
      Residential

      Totals: Theater                                                                    114.65       935.54          5,613.22

                                                               Mitigation
      Mitigation

      DESCRIPTION                                   QTY     REMOVE          REPLACE       TAX          O&P            TOTAL

      151. Serv Pro South Mitigation            1.00 EA          0.00        8,825.37      0.00         0.00          8,825.37

      Total: Mitigation                                                                    0.00         0.00          8,825.37

                                                                HVAC
      HVAC

      DESCRIPTION                                   QTY     REMOVE          REPLACE       TAX          O&P            TOTAL

      152. Heat, Vent, & Air Conditioning       1.00 EA          0.00         559.50       0.00         0.00           559.50
      (Bid Item)

      Total: HVAC                                                                          0.00         0.00           559.50

                                                          General Construction
      General Construction

      DESCRIPTION                                   QTY     REMOVE          REPLACE       TAX          O&P            TOTAL

      153. Dumpster load - Approx. 12           1.00 EA        490.00             0.00     0.00        98.00           588.00
      yards, 1-3 tons of debris
      Following Line items for cleaning
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                         Independent Estimates LLC
                         4 Mountain Creek Dr. S.E
                         Rome, Ga. 30161
                         706-346-9459
                         pascotthenderson@gmail.com

                                                          CONTINUED - General Construction

      DESCRIPTION                                         QTY          REMOVE            REPLACE                   TAX               O&P             TOTAL

      154. Cleaning Technician - per hour           48.00 HR                  0.00              47.07               0.00            451.88           2,711.24
      2 people 24 hour each to clean all cabinets inside and out, clean light fixtures wipe down ceilings and clean contents.
      155. Negative air fan/Air scrubber (24         2.00 DA                  0.00              73.50               0.00             29.40            176.40
      hr period) - No monit.
      2 days while cleaning and wiping down.
      156. Add for HEPA filter (for negative         1.00 EA                  0.00            200.03              10.95              42.20            253.18
      air exhaust fan)
      157. Add for personal protective               4.00 EA                  0.00              13.45               3.23             11.40             68.43
      equipment (hazardous cleanup)
      One suit each day for each person

      Total: General Construction                                                                                 14.18             632.88           3,797.25




                                          Experts

      DESCRIPTION                                         QTY          REMOVE            REPLACE                   TAX               O&P             TOTAL

      158. Engineering fees (Bid Item)               1.00 EA                  0.00          1,780.60                0.00              0.00           1,780.60
      Engineer Cost
      159. Air Alergen Cost (Air and mold            1.00 EA                  0.00          2,086.00                0.00              0.00           2,086.00
      test)
      160. Expert estimating cost                    1.00 EA                  0.00          1,500.00                0.00              0.00           1,500.00
      161. E&L Services Invoice                      1.00 EA                  0.00          4,380.00                0.00              0.00           4,380.00
      162. HVAC Repair                               1.00 EA                  0.00            559.50                0.00              0.00            559.50
      163. E&L Service plumbing repair bid           1.00 EA                  0.00          3,524.00                0.00              0.00           3,524.00
      164. Meso Potamia Inc.                         1.00 EA                  0.00          5,500.00                0.00              0.00           5,500.00

      Totals: Experts                                                                                               0.00              0.00          19,330.10




                                          Contents

      DESCRIPTION                                         QTY          REMOVE            REPLACE                   TAX               O&P             TOTAL

      165. See Contents List Attached                1.00 EA                  0.00         74,150.00           4,449.00               0.00          78,599.00

      Totals: Contents                                                                                         4,449.00               0.00          78,599.00

      Total: General Construction                                                                              4,463.18             632.88      101,726.35

      Total: HVAC                                                                                              4,463.18             632.88      102,285.85

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                          Independent Estimates LLC
                          4 Mountain Creek Dr. S.E
                          Rome, Ga. 30161
                          706-346-9459
                          pascotthenderson@gmail.com

      Total: Mitigation                                                                        4,463.18           632.88         111,111.22

      Total: Main Level                                                                        5,339.04          8,581.96        158,803.75

      Labor Minimums Applied

      DESCRIPTION                                  QTY          REMOVE          REPLACE           TAX              O&P               TOTAL

      166. Toilet & bath accessory labor       1.00 EA                0.00          133.95         0.00            26.80              160.75
      minimum
      167. Tile floor covering labor           1.00 EA                0.00           54.80         0.00            10.96               65.76
      minimum
      168. Heat, vent, & air cond. labor       1.00 EA                0.00          242.10         0.00            48.42              290.52
      minimum
      169. Stone floor covering labor          1.00 EA                0.00           91.38         0.00            18.28              109.66
      minimum
      170. Stairway labor minimum              1.00 EA                0.00          173.65         0.00            34.74              208.39
      171. General labor - labor minimum       1.00 EA                0.00           18.46         0.00             3.70               22.16
      172. Hazardous waste/mold rem. labor     1.00 EA                0.00          179.01         0.00            35.80              214.81
      min

      Totals: Labor Minimums Applied                                                               0.00           178.70             1,072.05

      Line Item Totals: PRASHANT_KALAVAR                                                       5,339.04          8,760.66        159,875.80



      Grand Total Areas:
              3,703.88 SF Walls                        1,596.08 SF Ceiling                   5,299.96 SF Walls and Ceiling
              1,542.96 SF Floor                          171.44 SY Flooring                    454.32 LF Floor Perimeter
                  0.00 SF Long Wall                        0.00 SF Short Wall                  466.40 LF Ceil. Perimeter

              1,542.96 Floor Area                      1,631.37 Total Area                   3,204.13 Interior Wall Area
              1,496.11 Exterior Wall Area                194.41 Exterior Perimeter of
                                                                Walls

                  0.00 Surface Area                        0.00 Number of Squares                0.00 Total Perimeter Length
                  0.00 Total Ridge Length                  0.00 Total Hip Length



      Coverage                                              Item Total                  %       ACV Total                      %
      Dwelling                                                 72,813.30          45.54%            72,813.30               45.54%
      Other Structures                                              0.00           0.00%                  0.00              0.00%
      Contents                                                 87,062.50          54.46%            87,062.50               54.46%
      Total                                                   159,875.80        100.00%            159,875.80           100.00%


     PRASHANT_KALAVAR                                                                                       4/12/2023                 Page: 15


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                      Independent Estimates LLC
                      4 Mountain Creek Dr. S.E
                      Rome, Ga. 30161
                      706-346-9459
                      pascotthenderson@gmail.com




                                                   Summary for Dwelling
      Line Item Total                                                                          63,162.60
      Material Sales Tax                                                                          890.04

      Subtotal                                                                                 64,052.64
      Overhead                                                                                  4,380.33
      Profit                                                                                    4,380.33

      Replacement Cost Value                                                                  $72,813.30
      Net Claim                                                                               $72,813.30




     PRASHANT_KALAVAR                                                           4/12/2023          Page: 16


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                      Independent Estimates LLC
                      4 Mountain Creek Dr. S.E
                      Rome, Ga. 30161
                      706-346-9459
                      pascotthenderson@gmail.com




                                                   Summary for Contents
      Line Item Total                                                                          82,613.50
      Material Sales Tax                                                                        4,449.00

      Replacement Cost Value                                                                  $87,062.50
      Net Claim                                                                               $87,062.50




     PRASHANT_KALAVAR                                                           4/12/2023          Page: 17


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     Main Level




                                                                       6' 11"
                                                                       6' 3"




                                                      8' 3"
                                                               8' 3"




                                                                                           11' 1"
                                                                                  11' 1"
                                                                                                                                           10' 1"
                                                                                                                                           9' 5"




                                                                                                                                                                        3' 8"
                                                                                                                           Under stairs




                                                                                                                                                                3'
                                   12' 7"             7"




                                                  2"
                                   12' 3"              7"
                                                                                                                                            21' 1"
                                                                    Playroom 5"




                                                                                                                                                                                                             1' 5"
                                                                                                                                                                        Up
                                                                                                              6' 4"                                        13' 7"                                                      7' 1"




                                                                                                                      3' 2"
                                                                                     9"
                                                                                                                                            Stairs2 (1) Stairs1 (2)




                                                                                                                                                                                3'
                                                                                                                                                                                                                      6' 9"
                                                                                                                                                     10'                                   3' Up
                                                                                                                                                                                              8"




                                                                                                                                                                                                                                 3'
                                                           12' 7"




                                                                                                                                                                                1' 3"
                                                                                                                                             Full (A5)
                                                                                                                                  Base cab (A2)      Stairs




                                                                                                                                             7"
                                                                                       9' 9"
                                                                                                                                                        7' 3"




                                                  16' 5"




                                                                                                                                                                                                                               9' 1"
                                                                                                                          5' 7"
                                                                                                                                   2'




                                                                                                                                                                                                                                  2'
                                  Theater                                                                                         Bathroom
                                                                                                                                   DW




                                                                                                    14' 1"




                                                                                                                                                                                                   14' 10"
                                                                                                                                             4'
                                                                                               Mechanical
                                                                                                       Cab (A4) Under counter frig
                                                                                                                       2'




                                                                                                                      10' 11"
                                                                                                                                  11' 1"
                                                                                                                                          2'




                                                                                                                                                                3' 2"




                                                                                                                                                                                                                                 3'
                                                                                                                                                                                   3' 7"
                                                                       7' 7"
                                                                                                                                                           Bar                                                            5'
                                                                                                                                                                                                         Wine Racks (A1)




                                                                                                                                                                                                                 1'
                                                                                                                                                             9"
                                                                                       3' 8"
                                                                                                                                            6' 2"




                                                                                                                                                           1'




                                                                                                                                                                                                                               1' 8"
                                                                                                                                                                                                                               3' 8"
                                                                    Hallway




                                                                                                                            1' 10"
                                                                                                                                                                                                               4'
                                                                                                                                                                                                         Wine Cellar
                         32' 7"




                                                                                                                                                                        9"
                                                                                                                                      Bar (A1)




                                                                                                                                                                    3'




                                                                                                                                                                                                                 1'
                                                                                                                          3"




                                                                                                                                                                                                                                          28' 10"
                                                                                  14' 10"                                                    6' 9"
                                                                                                                                                           13' 9"                                                     7' 1"
                                                           15' 2"




                                                                                                                                                                                                                                 14' 9"
                                  Bedroom                                                                                 Living Room




                                                                          9' 1"                                                                                                               14' 4"
                                            21' 10"                                                                                                                                            14' 7"
                                                                                                             4'




                                                                                                                                                     1"
                                                                                                              1"




                                                                                                                                                   4'
                                                                                                      4'




                                                                                                                          6' 2"                         1"
                                                                                                             1"




                                                                                                                                                     4'
                                                                                                                          6' 5"




                                                                                                                                                                                                                                                                Main Level
      PRASHANT_KALAVAR                                                                                                                                                                                                                              4/12/2023   P.18 Page: 18
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                                               Case 1:23-mi-99999-UNA Document 2350A Filed 07/25/23 Page 64 of 81



                                                                           PERSONAL PROPERTY ITEMIZATION
                                                                        Item                                                           Direct       Original Est.
                                                                        Age                                                         Water/Visible    Purchase
Item #        Model #/Description                Brand/Manufacturer    (Years)           Vendor/Store   Quantity   Room/Location    Mold/Exposure      Price                    Material
     1 Black Sectional                    Decor                              8 Décor                          1 Basement           Yes                      7000 Leather
     2 Bose Sub Woofer                    Bose                               5 Best Buy                       1 Basement           Yes                       800
     3 Bose L1 Speaker                    Bose                               5 Best Buy                       1 Basement           Yes                      1000
     4 TV Console Table                   Ethan Allen                        8 Ethan Allen                    1 Basement           Yes                      4500
     5 PS 4 with 2 controllers            Play Station                       3 Target                         1 Basement           Yes                       700
     6 Air Fryer                          Brivelle                           3 William Sonoma                 1 Basement           Yes                       400
     7 White Sectional                    Décor                              8 Décor                          1 Basement           Yes                      6000 Leather
     8 Red love seat with single seater   Décor                              8 Décor                          1 Basement           Yes                      6000 Leather
     9 2 Animal Print Single Chairs       Décor                              8 Décor                          1 Basement           Yes                      2000 Cloth
    10 4 Black bar stools                 Décor                              4 Décor                          4 Basement           Yes                      3200 Leather
    11 Mini Fridge (Wine Cooler)          GE                                 8 Home Depot                     1 Basement           Yes                      3500
    12 Dishwasher                         Kitchenaide                        8 Home Depot                     1 Basement           Yes                      1500
    13 Silver LED Coffee table            Decor                              8 Décor                          1 Basement           Yes                      3000
    14 Office Desk                        Bush Furniture                     3 Staples                        1 Basement           Yes                      2000 Wooden - Item Number: 112-UXA888
                                                                                                                                                                 Tempur-Pedic TP4000 Fabric Task Chair,
                                          Staples Lockland Ergonomic                                                                                             (TP4000)
    15 Office Chair                       Leather Managers                   3 Staples                        1 Basement           Yes                       300 Item #: 324022|Model #: TP4000|
    16 Silver Console table               Zgallerie                          8 Zgallerie                      1 Basement           Yes                      2000
                                                                               Great Southern Home
    17 Pool table + Table Tennis topper California House                     5 Recreation                     1 Basement           Yes                     10000
    18 Rugs                               Macys                              8 Macys                          3 Basement           Yes                      3000 Brand: Surya Rugs
    19 Roll of Wall paper                 Elle                               1 Elle                           1 Basement           Yes                       500
    20 Vaccum Cleaner                     Hoover                             4 Home Depot                     1 Basement           Yes                       100
    21 Wet Dry Vaccum                     Ridgid                             4 Home Depot                     1 Basement           Yes                       100
    22 Ice Maker                          Kitchenaide                        8 Home Depot                     1 Basement           Yes                      2730
    23 Wooden coffee table                Ethan Allen                        8 Ethan Allen                    1 Basement           Yes                      2000
    24 End tables                         Ethan Allen                        8 Ethan Allen                    2 Basement           Yes                      3000
    25 Microwave                          Brivelle                           8 William Sonoma                 1 Basement           Yes                       500
    26 Pizza Oven                         Brivelle                           8 William Sonoma                 1 Basement           Yes                      1000
    27 Electric Fireplace                 Napolean                           5 North Country Fire             1 Basement           Yes                      1600
    28 Table Lamps                        Zgallerie                          8 Zgallerie                      2 Basement           Yes                       700
    29 Floor Lamp                         Zgallerie                          8 Zgallerie                      1 Basement           Yes                       600




                                                                                                                                                                                            P.19
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                                                                                                        Dreo Tower Fan 42 Inch, Cruiser Pro T1
                                                                                                        Quiet Oscillating Bladeless Fan with
                                                                                                        Remote, 6 Speeds, 4 Modes, LED Display,
                                                                                                        12H Timer, Black Floor Standing Fan
                                                                                                        Powerful for Indoor Home Bedroom
30 Floor fans               amazon               5 Amazon           4 Basement   Yes                320 Office Room
31 Bench                    Macys                8 Macys            1 Basement   Yes            1600 MOE'S HOME COLLECTION
32 Bar Top Table & Chairs   Perigold             5 Perigold         1 Basement   Yes            2500 Cannot find it, but the chairs had leather u




                                                                                                                                   P.20
                                   APPENDIX
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                                     E&L Service                                      Invoice No.           1450109
                      for your Business and Home repair needs
                                1655 Oak Ridge Way
                               Lawrenceville GA 30044

                                                                                                    INVOICE

Customer                                                                              Misc

Name        Shweta Kalavar                                                            Date          6/24/2022
Address     8030 Prestwick Circle                                                     Order No.     0110109
City        Duluth                       State GA           ZIP 30097                 Rep
Phone                                                                                 FOB

   Qty                                   Description                                  Unit Price        TOTAL
    1       Discover of water damage source                                           $ 4,380.00    $     4,380.00

            cut out sheet rock in few places to get to water links
             Installed some new 2x4 for the sheet rock mounting
            Installed new sheet rock in the cut area
            Mad and taped
            Prime walls
            Reinstalled toilet
            Reinstalled bathroom sink cabinet




                                                                                       SubTotal     $      4,380.00
                                                                                       Shipping
Payment       Other                                                     Tax Rate(s)

Comments                                                                                TOTAL       $      4,380.00
   Name
    CC #                                                                  Sign in box below upon Complication
  Expires                                                                 We Appreciate Your Business
                                                                          Curtis Gamble      770-365-5026




                                                                                                            P.21
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                                                                     P.22
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                                                                           Casteel Heating, Cooling, Plumbing and Electrical
                                                                           305 Petty Road Suite B, Lawrenceville, Ga, 30043
                                                                                                           P: 770-565-5884
                                                                                                           F: 770-792-6670
                                                                                                        www.casteelair.com
                                                                                                    HVAC LIC# GA:CN211288
                                                                                                 PLUMBING LIC# MP210486
                                                                                                 ELECTRICAL LIC# EN215639

BILL TO
Shweta Kalavar
8030 Prestwick Circle
Duluth, GA 30097 USA


                                                                                   INVOICE                INVOICE DATE
                                                                                   642816                 Jun 30, 2022



J O B A D D R ES S                                                           Completed Date:
Shweta Kalavar                                                               Payment Term: Due Upon Receipt
8030 Prestwick Circle
Duluth, GA 30097 USA


                                              D ES C R I P T I O N O F WO R K

On arrival system was not cooling customer had water damage from a pipe bursting flooding the basement about 2 inches.
Customers worried about it affecting the system due to the system is not cooling and operating. Due to the overall
renovation and pulling drywall off the walls this area does not properly insulated causing the system to work twice as hard
this led to blowing a capacitor not allowing the system to cool. Change the capacitor system is up and running and cooling at
this time. Thanks for choosing Casteel.


TA S K             D ES C R I P T I O N                                                      QT Y      PRICE        T O TA L

DISPFEE            Standard Dispatch Fee                                                     1.00       $89.00        $89.00

FUELSURCHARGE Fuel Surcharge                                                                 1.00       $25.00        $25.00

T610085            Dual Power Factor Enhancing Component                                     1.00      $445.50       $445.50

                   A DPFEC is like a battery used store electricity and give motors a
                   boost when they need to start. From normal usage a capacitor may
                   become worn and need to be replaced.

                   MPT:21.000000




PA I D O N                         TYPE                                             MEMO                         AMOUNT

6/30/2022                         American Express                                                                   $559.50




                                                                              POTENTIAL SAVINGS              $44.55-$89.10



Invoice #642816                                                                                                  P.23
                                                                                                               Page 1 of 2
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                                                                                         SUB-TOTAL                   $559.50
                                                                                                TAX                     $0.00

                                                                                         TOTAL DUE                   $559.50
                                                                                          PAYMENT                    $559.50

                                                                                      BALANCE DUE                       $0.00
All repairs carry a 2 year parts and labor warranty from date of invoice.

Casteel cannot be held liable for the following conditions:
1. Water damage due to line blockage, failed pump, frozen lines or broken pipes. Any of these
conditions can happen at any time and is out of the control of Casteel. Casteel will flush
the lines to ensure proper flow at the time of service. Casteel is not responsible
for future costs to modify or repair a drain system to meet code requirements.
2. Casteel is not responsible for the existing condition of the attic pull down stairs. Alternative methods may be needed
to access the equipment. Casteel cannot be held liable for the replacement or repair
of attic stairs that has no negligence on our part.
CUSTOMER AUTHORIZATION
I hereby authorize the above repairs in the total of $559.50 to be completed by Casteel Heating, Cooling, Plumbing and
Electrical.



Sign here                                               Date    6/30/2022



CUSTOMER ACKNOWLEDGEMENT
I hereby acknowledge the above repairs in the total of $559.50 to have been completed to my satisfaction by Casteel
Heating, Cooling, Plumbing and Electrical.



Sign here                                               Date    6/30/2022



I authorize Casteel HVAC Service Department to charge the agreed amount to my credit card provided herein. I agree that I
will pay for this purchase in accordance with the issuing bank cardholder agreement.



Sign here                                               Date    6/30/2022




Invoice #642816                                                                                                   P.24
                                                                                                                Page 2 of 2
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                            HAIGHT DAVIS & ASSOCIATES, INC.
                                       CONSULTING ENGINEERS
                                            (770) 979-6650
                                         www.haight-davis.com


BILL TO:                                                                                        Invoice
Shweta and Prashant Kalavar                                                              Invoice Date:       Invoice #:
8030 Prestwick Circle                                                                      2/6/2023          2023-211
Duluth, Georgia 30097
                                                                                                Project Number
                                                                                                  LS-22-187
                                                                                                      Terms
                                                                                                 Due on receipt
           Engineering Evaluation at Kalavar
FOR:       Residence, 8030 Prestwick Circle,
           Duluth, GA 30097


    Date                             Description                    Hrs/Qty       U/M           Rate           Amount
 12/20/2022 New file set up                                                 0.2   hr.             100.00              20.00
            (Administrator Rate)
 1/18/2023 Site visit, including travel                                     6.0   hrs.            275.00            1,650.00
            (Project Manager Rate)
 2/2/2023   Telephone w/C. Jeffries                                         0.2   hrs.            275.00              55.00
            (Principal Rate)

               Photographs on file                                          1.0   set                 5.00             5.00
               Travel Mileage                                              44.0   mi.                 1.15            50.60

               Less Retainer Paid. Thank You!                               1.0   ea.          -1,000.00         -1,000.00




    REMIT PAYMENT TO: 526 Wagon Wheel Climb                                       Balance Due                   $780.60
                      Lawrenceville, GA 30044
            Accepted Credit Cards                         E-Mail                                   Tax ID #

  Visa, MasterCard and American Express            lisa@haight-davis.com                         XX-XXXXXXX

                                                                                                             P.26
4/11/23, 2:39 PM                             APPENDIX
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                                                     Transaction     07/25/23 Page 72 of 81
                                                                 Receipt




    Merchant: HAIGHT DAVIS AND ASSOCIATE
    473 CRICKET RIDGE CT
    LAWRENCEVILLE, GA 30044                                 7709796650
    US
    Order Information
    Description:
    Order Number:                                           P.O. Number:
    Customer ID:                                            Invoice Number:        2023-211


    Billing Information                                     Shipping Information




                                                                                            Shipping:           0.00
                                                                                                 Tax:           0.00
                                                                                                Total: USD 780.60

    Payment Information
    Date/Time:                    11-Apr-2023 11:39:00 PDT
    Transaction ID:               64302451557
    Transaction Type:             Authorization w/ Auto Capture
    Transaction Status:           Captured/Pending Settlement
    Authorization Code:           186275
    Payment Method:               American Express XXXX1023




                                                                                                                        P.27
https://account.authorize.net/ui/themes/bankofamericamerchant/Transaction/TransactionReceipt.aspx?transid=64302451557          1/1
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                                                                            1543 Lilburn Stone-Mountain Road
                                                                                  Stone Mountain, GA 30087

                                                                            (770) 938.4861 Fax (678) 723.5848

                                                    INVOICE
  Customer      Billing Date:    2/1/2023                       Job/Location    Date of Service          1/28/2023
Company:                                                      Invoice Nbr: 35138
                                                              Compy Job:
Name:        Prashant           Kalavar                       LastName:      Kalavar
Addr1:       8030 Preswick Circle                             Addr1:         8030 Preswick Circle
Addr2:                                                        Addr2:
City:        Duluth             GA        30097-              City St        Duluth GA 30097

  Qty                                 Description                               Unit Price        Extended Price

    2    Carpet Dust                                                                128.00              256.00
    8    Swab Direct Exam                                                             69.00             552.00
    12   Spore Trap Cus                                                               69.00             828.00
    1    Half Day Inspection                                                        450.00              450.00
                                                                          SubTotal                     2086.00
                                                                          Tax                             0.00
                                                                          Paid                            0.00
                                 Pay Status: To Be Paid                   Total                        2086.00
         Invoice Notes:




                                             Thank You for your order
                                                                                                           P.28
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Independent Estimates LLC.
4 Mountain Creek Dr. SE.
Rome, Ga. 30161-7700
PH: 706-346-9459
Email: Pascotthenderson@gmail.com




Shweta Kalavar
8030 Prestwick Circle
Duluth, Ga. 30097                                                                                       INVOICE

                                                                                            Invoice #       0000310

                                                                                         Invoice Date     04/17/2023

                                                                                            Due Date      05/01/2023




  Item         Description                                                  Unit Price       Quantity      Amount

 Hours         Site inspection, Scope sketch and photograph                     125.00            3.00        375.00

 Hours         Load all information from site inspection into Xactimate,        125.00            6.00        750.00
               Sketch and estimate loss.

 Hours         Discussions with Carson Jeffries and revisions to estimate       125.00            1.50        187.50
               as needed.

 Hours         Review documents pertaining to loss from experts                 125.00            1.00        125.00




                                                                             Subtotal                       1,437.50

                                                                             Total                          1,437.50
                                                                             Amount Paid                         0.00

                                                                             Balance Due                   $1,437.50




                                                                                                          P.29
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                      LOCAL RULE 7.1 CERTIFICATE

      The undersigned counsel hereby certifies that this pleading was prepared with

one of the font and point selections approved by the Court in L.R. 5.1.C.

Specifically, Times New Roman was used in 14 point.

                                      ISENBERG & HEWITT, P.C.

                                      /s/ Hilary W. Hunter
                                      Hilary W. Hunter
                                      Georgia Bar No. 742696
                                      600 Embassy Row, Suite 150
                                      Atlanta, Georgia 30328
                                      (770) 351-4400 Telephone
                                      (770) 828-0100 Facsimile
                                      Attorney for Defendant
                                      Safeco Insurance Company
                                      Of Indiana
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

PRASHANT KALAVAR and                          )
SHWETA KALAVAR,                               )
                                              )
      Plaintiff,                              )
                                              )     CIVIL ACTION FILE NO.
vs.                                           )     ______________________
                                              )
SAFECO INSURANCE COMPANY                      )
OF INDIANA                                    )
                                              )
      Defendant.                              )

                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on July 25, 2023, she electronically filed

a copy of Defendant Safeco Insurance Company of Indiana’s Notice Of Removal

with the United States District Court’s Clerk of Court using the CM/ECF system,

which will automatically send e-mail notification of such filing to the following

attorneys:

                               Carson Jeffries, Esq.
                                Carter Jeffries LLC
                             cjeffries@moldfirm.com


                                       ISENBERG & HEWITT, P.C.

                                       /s/ Hilary W. Hunter
                                       Hilary W. Hunter
                                       Georgia Bar No. 742696
                                       600 Embassy Row, Suite 150
                                       Atlanta, GA 30328
Case 1:23-mi-99999-UNA Document 2350 Filed 07/25/23 Page 81 of 81




                             770-351-4400 - O
                             770-828-0100 - F
                             Attorney for Defendant
